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                                                 

                                                 

        ,;<F J4EE4AG 4CC?<8F GB <A9BE@4G<BA 4FFB6<4G87 J<G; G;8 ?B64G<BA >ABJA 4F  '3'4 /+2'

'11'/+-)         ,;8E8F<78A68<F4F<A:?8 FGBEL@H?G< 94@<?L;B@84A7;4F4@4EBBAC4EG<4??L

6BI8E87EBB9J<G;@4EBBAF;HGG8EFFHEEBHA7<A:G;8J<A7BJF ,;8@H?G< 94@<?L;B@8;4FGJBHA<GFBA8<A

G;89EBAG4A7BA8<AG;8E84E ,;8477E8FF9BEG;89EBAGE8F<78A68<F     8J8LE<I8J;<?8G;8477E8FF9BE

G;8E84EE8F<78A68<F 8J8LE<I8 ,;8@H?G< 94@<?L;B@8J;<6;<A6?H78F5BG;G;89EBAG4A7E84EHA<GF

;4F ?<:;G L8??BJ 6B?BE87 F<7<A: 4A7 G;8 AH@58E S   T 4CC84EF BA G;8 E<:;G 9EBAG B9 G;8 ;B@8 45BI8 G;8

AH@58ES  T,;8E8<F4F6E88A87 <ACBE6;BAG;8E<:;GF<78B9G;8;B@8J<G;4@4<?5BKJ<G;G;8AH@58E

S   TBA<G 7BBE<AF<78G;8F6E88A87 <ACBE6;B9G;8@H?G< 94@<?L;B@8<F@4E>87J<G;G;8AH@58ES               T

4FJ8?? ,;<FJ4EE4AGBA?LF88>FGBF84E6;G;89EBAGHA<GB9G;8@H?G< 94@<?L;B@8J<G;G;8477E8FFB9              

8J8LE<I84A77B8FABGF88>GBF84E6;G;8546>HA<GJ<G;G;8477E8FFB9 8J8LE<I8 
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                                            

                                               

                ,;8 <G8@F GB 58 F8<M87 4E8 9EH<GF 8I<78A68 <A9BE@4G<BA 6BAGE454A7 BE

<AFGEH@8AG4?<G<8F <A J;4G8I8E 9BE@ 4A7 ;BJ8I8E FGBE87 E8?4G<A: GB I<B?4G<BAF B9  - +   OO

    4FF4H?G<A:*8F<FG<A:BE"@C87<A:8EG4<A(99<68EF<7<A:4A758GG<A: - +  

O  6(5FGEH6G<BAB94A(99<6<4?)EB6887<A: - +  O 4<I<?<FBE78E4A7

  - +   OO    8 4A7  <FBE78E?L BA7H6G 4A7 );LF<64? .<B?8A68 BA 4C<GB?

 EBHA7FG;8S,4E:8G(998AF8FTG;4G;4I8588A6B@@<GG875L4I<7&8;499<8SG;8+H5=86GT

4A7 BG;8E <78AG<9<87 4A7 HA<78AG<9<87 C8EFBAF 4F 78F6E<587 <A G;8 F84E6; J4EE4AG 499<74I<G

<A6?H7<A:5HGABG?<@<G87GB

            4   I<78A686BA68EA<A:C?4AA<A:GBHA?4J9H??L8AG8EG;8- + 4C<GB?<A6?H7<A:4AL
                @4CFBE7<4:E4@FB9G;85H<?7<A:BE<GF<AG8EA4?B99<68F

            5   I<78A686BA68EA<A:HA?4J9H?8AGEL<AGBG;8- + 4C<GB?<A6?H7<A:4ALCEBC8EGL
                B9G;8- + 4C<GB?

            6   I<78A686BA68EA<A:4J4E8A8FFB9G;8B99<6<4?CEB6887<A:G;4GJ4FGBG4>8C?4684G
                BA:E8FFBA#4AH4EL  < 8 G;868EG<9<64G<BACEB68FFB9G;8  )E8F<78AG<4?
                ?86G<BA

            7   I<78A686BA68EA<A:899BEGFGB7<FEHCGG;8B99<6<4?CEB6887<A:G;4GJ4FGBG4>8C?468
                4G BA:E8FF BA #4AH4EL     < 8  G;8 68EG<9<64G<BA CEB68FF B9 G;8  
                )E8F<78AG<4??86G<BA

            8   I<78A68E8?4G<A:GB46BAFC<E46LGB<??8:4??L8AG8E4A7 BEB66HCLG;8- + 4C<GB?
                H<?7<A:BABE45BHG#4AH4EL  

            9   I<78A686BA68EA<A:G;85E846;4A7HA?4J9H?8AGELB9G;8-A<G87+G4G8F4C<GB?
                4A74AL6BAFC<E46LBEC?4AGB7BFBBA#4AH4EL  

            :   I<78A686BA68EA<A:G;8E<BG4A7 BE6<I<?7<FBE78E4GG;8-A<G87+G4G8F4C<GB?BA
                #4AH4EL  
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     ;   I<78A686BA68EA<A:G;84FF4H?GFB99878E4?B99<68EF 4:8AGF4A7899BEGFGB<@C878
         FH6; 9878E4? B99<68EF 4:8AGF <A G;8 C8E9BE@4A68 B9 G;8<E 7HG<8F G;8 -A<G87 +G4G8F
         4C<GB?BA#4AH4EL  

     <   I<78A686BA68EA<A:74@4:8GBBEG;89GB9CEBC8EGL4GG;8-A<G87+G4G8F4C<GB?
         BA#4AH4EL  

     =   I<78A68B94AL6BAFC<E46LC?4AA<A:BECE8C4E4G<BAGB6B@@<GG;BF8B998AF8F

     >   I<78A686BA68EA<A:899BEGF49G8EG;8946GGB6BA684?8I<78A68B9G;BF8B998AF8FBE
         GB9?88CEBF86HG<BA9BEG;8F4@8

     ?   I<78A686BA68EA<A:@4G8E<4?F78I<68FBEGBB?FG;4GJ8E8HF87GBHA?4J9H??L8AG8E
         G;8 - +  4C<GB? 5L 7868<G BE 5L 9BE68 <A6?H7<A: J84CBAF 4A7 8?8@8AGF HF87 GB
         5E846;G;85H<?7<A:BEGB6BHAG8E899BEGF5L?4J 8A9BE68@8AGFH6;4FC8CC8EFCE4L
         BEF@B>8:E8A478F

     @ I<78A68B96B@@HA<64G<BA78I<68F<A6?H7<A:FC84>8EF6?BF876<E6H<GE47<BFBE
       J4?><8 G4?><8F G;4G 6BH?7 ;4I8 588A HF87 5L 6B 6BAFC<E4GBEF GB 6B@@HA<64G8
       7HE<A:G;8HA?4J9H?8AGEL<AGBG;8- + 4C<GB?

     A   I<78A68 B9 G;8 FG4G8 B9 @<A7 B9 G;8 FH5=86G 4A7 BE BG;8E 6B 6BAFC<E4GBEF  
         <AG8AG 45F8A68 B9 @<FG4>8 BE 8I<78A68 <A7<64G<A: CE8C4E4G<BA BE C?4AA<A: BE
         >ABJ?87:84A78KC8E<8A68E8?4G87GBG;86E<@<A4?46G<I<GLHA78E<AI8FG<:4G<BA4A7

     B   I<78A686BA68EA<A:G;8<78AG<GLB9C8EFBAFJ;B8<G;8E<6B??45BE4G876BAFC<E87
         BE 4FF<FG87 >ABJ<A:?L BE HA>ABJ<A:?L G;8 6B@@<FF<BA B9 G;8 6E<@<A4? 46G<I<GL
         HA78E<AI8FG<:4G<BABE<<6B@@HA<64G87J<G;G;8HA?4J9H?46GBEF45BHG@4GG8EF
         E8?4G<A: GB G;8 6E<@<A4? 46G<I<GL HA78E <AI8FG<:4G<BA <A6?H7<A: E86BE7F G;4G ;8?C
         E8I84?G;8<EJ;8E845BHGF
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                  *86BE7F 4A7 <A9BE@4G<BA G;4G 6BAFG<GHG8 8I<78A68 B9 <78AG<GL <A6?H7<A: 5HG ABG

?<@<G87GB

               4   6?BG;<A:BE<G8@FJBEABE64EE<875LG;8FH5=86GGB<A6?H784:E8LM<C HC;BB7<84

                   5?46>BE74E>:E8L?BA: F?88I8458?4UFXM<CF;<EG5?H884ECEBG86G<BA4A745?H8

                   A86>:4<G8E

               5   6?BG;<A: 4A7 BG;8E 4EG<6?8F G;4G E89?86G 8I<78A68 B9 ;4I<A: C4EG<6<C4G87 <A G;8

                   HA?4J9H?46G<I<GL4GG;8- + 4C<GB?<A6?H7<A:8I<78A68B9C8CC8EFC4LBEBG;8E

                   ABA ?8G;4?6EBJ76BAGEB?E8@A4AGF

                  *86BE7F 4A7 <A9BE@4G<BAR<A6?H7<A: 5HG ABG ?<@<G87 GB 7B6H@8AGF

6B@@HA<64G<BAF8@4<?FBA?<A8CBFG<A:FC;BGB:E4C;FI<78BF64?8A74EF<G<A8E4E<8FE868<CGF4A7

9<A4A6<4?FG4G8@8AGFRE8?4G<A:GB

               4   AL E86BE7F 4A7 BE 8I<78A68 E8I84?<A: G;8 +H5=86GUF CE8F8A68 4G G;8 #4AH4EL 
                     E<BG

               5   AL C;LF<64? E86BE7F FH6; 4F E868<CGF 9BE GE4I8? J;<6; @4L F8EI8 GB CEBI8
                   8I<78A68B9GE4I8?B9GBBE9EB@/4F;<A:GBA  9EB@868@58EB9  G;EBH:;
                   #4AH4ELB9  

               6   ,;8 +H5=86GUF @BG<I8 4A7 <AG8AG 9BE GE4I8?<A: GB G;8 - +  4C<GB? BA BE 45BHG
                   #4AH4EL  4A7

               7 ,;8 +H5=86GUF 46G<I<G<8F <A 4A7 4EBHA7 /4F;<A:GBA    FC86<9<64??L G;8 - +
                 4C<GB?BABE45BHG#4AH4EL 

                  BE 4AL 68??H?4E G8?8C;BA8F HF87 5L G;8 +H5=86G J;<6; <F BE 4E8 64C45?8 B9

6BAG4<A<A: 4A7 E84FBA45?L 6BH?7 6BAG4<A 9EH<GF 8I<78A68 <A9BE@4G<BA 6BAGE454A7 BE

<AFGEH@8AG4?<G<8F 4F 78F6E<587 <A G;8 F84E6; J4EE4AG 499<74I<G 4A7 45BI8 ;8E8<A49G8E G;8

S8I<68FT

               4   8I<78A68B9J;BHF87BJA87BE6BAGEB??87G;88I<68F4GG;8G<@8G;8G;<A:F
                   78F6E<587 <A G;<F J4EE4AG J8E8 6E84G87 87<G87 BE 78?8G87 FH6; 4F ?B:F E8:<FGEL
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               8AGE<8F6BA9<:HE4G<BA9<?8FF4I87HF8EA4@8F4A7C4FFJBE7F7B6H@8AGF5EBJF<A:
               ;<FGBEL HF8E CEB9<?8F 8@4<? 8@4<? 6BAG46GF 6;4G <AFG4AG @8FF4:<A: ?B:F
               C;BGB:E4C;F4A76BEE8FCBA78A68

           5   8I<78A68 B9 FB9GJ4E8 BE G;8 ?46> G;8E8B9 G;4G JBH?7 4??BJ BG;8EF GB 6BAGEB? G;8
               8I<68FFH6;4FI<EHF8F,EB=4A;BEF8F4A7BG;8E9BE@FB9@4?<6<BHFFB9GJ4E8
               4F J8?? 4F 8I<78A68 B9 G;8 CE8F8A68 BE 45F8A68 B9 F86HE<GL FB9GJ4E8 78F<:A87 GB
               78G86G@4?<6<BHFFB9GJ4E8

           6   8I<78A68 B9 G;8 4GG46;@8AG GB G;8 8I<68F B9 BG;8E FGBE4:8 78I<68F BE F<@<?4E
               6BAG4<A8EF9BE8?86GEBA<68I<78A68

           7   8I<78A68B96BHAG8E 9BE8AF<6CEB:E4@F4A74FFB6<4G8774G4G;4G4E878F<:A87GB
               8?<@<A4G874G49EB@G;88I<68F

           8   8I<78A68B9G;8G<@8FG;88I<68FJ4FHF87

           9   C4FFJBE7F 8A6ELCG<BA >8LF 4A7 BG;8E 4668FF 78I<68F G;4G @4L 58 A868FF4EL GB
               4668FFG;88I<68F

           :   7B6H@8AG4G<BA4A7@4AH4?FG;4G@4L58A868FF4ELGB4668FFG;88I<68FBEGB
               6BA7H6G49BE8AF<68K4@<A4G<BAB9G;88I<68F

           ;   E86BE7FB9BE<A9BE@4G<BA45BHG"AG8EA8G)EBGB6B?477E8FF8FHF875LG;88I<68F

           <   E86BE7FB9BE<A9BE@4G<BA45BHGG;88I<68FUF"AG8EA8G46G<I<GL<A6?H7<A:9<E8J4??
               ?B:F646;8F5EBJF8E;<FGBEL4A76BB><8FS5BB>@4E>87TBES94IBE<G8TJ85C4:8F
               F84E6;G8E@FG;4GG;8HF8E8AG8E87<AGB4AL"AG8EA8GF84E6;8A:<A84A7E86BE7FB9
               HF8E GLC87J85477E8FF8F

           =   *BHG8EF @B78@F 4A7 A8GJBE> 8DH<C@8AG HF87 GB 6BAA86G 6B@CHG8EF GB G;8
               "AG8EA8G

      HE<A: G;8 8K86HG<BA B9 G;8 F84E6; B9 G;8 )*&"++ 78F6E<587 <A GG46;@8AG  ?4J

8A9BE68@8AGC8EFBAA8?4E84?FBFC86<9<64??L4HG;BE<M87GBB5G4<A9EB@4I<7&8;499<85HGABG4AL

BG;8E<A7<I<7H4?FCE8F8AG4GG;8)*&"++4GG;8G<@8B98K86HG<BAB9G;8J4EE4AGG;86B@C8??87

7<FC?4L B9 4AL C;LF<64? 5<B@8GE<6 6;4E46G8E<FG<6F FH6; 4F 9<A:8ECE<AG G;H@5CE<AG 946<4?

6;4E46G8E<FG<6FBE<E<F7<FC?4LA868FF4ELGBHA?B6>4AL8I<68FE8DH<E<A:FH6;5<B@8GE<64668FF

FH5=86GGBF8<MHE8CHEFH4AGGBG;<FJ4EE4AG9BEJ;<6;?4J8A9BE68@8AG;4FE84FBA45?8FHFC<6<BAG;4G
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G;8 49BE8@8AG<BA87 C8EFBAFU C;LF<64? 5<B@8GE<6 6;4E46G8E<FG<6F J<?? HA?B6> G;8 8I<68F GB

<A6?H78CE8FF<A:9<A:8EFBEG;H@5F4:4<AFG4A7 BECHGG<A:49468589BE8G;8F8AFBEBE4ALBG;8E

F86HE<GL984GHE8E8DH<E<A:5<B@8GE<6E86B:A<G<BAB9

                 4     4ALB9G;88I<68F9BHA74GG;8)*&"++

                 5     J;8E8G;88I<68F4E8?<@<G87GBG;BF8J;<6;4E864C45?8B96BAG4<A<A:
                         4A7E84FBA45?L6BH?76BAG4<A9EH<GF8I<78A68<A9BE@4G<BA6BAGE454A7BE
                         <AFGEH@8AG4?<G<8F B9 G;8 B998AF8F 4F 78F6E<587 <A G;8 F84E6; J4EE4AG
                         499<74I<G4A7J4EE4AG4GG46;@8AGF

9BEG;8CHECBF8B94GG8@CG<A:GBHA?B6>G;88I<68FUFF86HE<GL984GHE8F<ABE78EGBF84E6;G;8

6BAG8AGF4F4HG;BE<M875LG;<FJ4EE4AG 

       /;<?8 4GG8@CG<A: GB HA?B6> G;8 78I<68 5L HF8 B9 G;8 6B@C8??87 7<FC?4L B9 5<B@8GE<6

6;4E46G8E<FG<6F CHEFH4AG GB G;<F J4EE4AG ?4J 8A9BE68@8AG <F ABG 4HG;BE<M87 GB 78@4A7 G;4G G;8

49BE8@8AG<BA87C8EFBAFFG4G8BEBG;8EJ<F8CEBI<78G;8C4FFJBE7BE<78AG<9LG;8FC86<9<65<B@8GE<6

6;4E46G8E<FG<6F <A6?H7<A: G;8 HA<DH8 9<A:8EF BE BG;8E C;LF<64? 984GHE8F G;4G @4L 58 HF87 GB

HA?B6>BE4668FFG;88I<68F 'BE7B8FG;8J4EE4AG4HG;BE<M8?4J8A9BE68@8AGGBHF8G;8946G

G;4GG;8J4EE4AG4??BJF?4J8A9BE68@8AGGBB5G4<AG;87<FC?4LB94AL5<B@8GE<66;4E46G8E<FG<6FGB

6B@C8?G;849BE8@8AG<BA87C8EFBAFGBFG4G8BEBG;8EJ<F8CEBI<78G;4G<A9BE@4G<BA !BJ8I8EG;8

IB?HAG4EL7<F6?BFHE8B9FH6;<A9BE@4G<BA5LG;849BE8@8AG<BA87C8EFBAF<FC8E@<GG87 ,B4IB<7

6BA9HF<BABAG;4GCB<AG<94:8AGF<A8K86HG<A:G;8J4EE4AG4F>4ALB9G;849BE8@8AG<BA87C8EFBAF

9BE G;8 C4FFJBE7 GB 4AL 8I<68F BE GB <78AG<9L J;<6; 5<B@8GE<6 6;4E46G8E<FG<6 <A6?H7<A: G;8

HA<DH8 9<A:8EF BE BG;8E C;LF<64? 984GHE8F HA?B6>F 4AL 8I<68F G;8 4:8AGF J<?? ABG FG4G8 BE

BG;8EJ<F8<@C?LG;4GG;8J4EE4AGE8DH<E8FG;8C8EFBAGBCEBI<78FH6;<A9BE@4G<BA4A7J<??@4>8

6?84E G;4G CEBI<7<A: 4AL FH6; <A9BE@4G<BA <F IB?HAG4EL 4A7 G;4G G;8 C8EFBA <F 9E88 GB E89HF8 G;8

E8DH8FG 
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 - +  OO     4             BE6<5?L4FF4H?G<A:E8F<FG<A:BCCBF<A:<@C87<A:
                                      <AG<@<74G<A:BE<AG8E98E<A:J<G;4AL9878E4?B99<68EJ;<?8G;4G
                                      B99<68E<F8A:4:87<ABEBA466BHAGB9G;8C8E9BE@4A68B9
                                      B99<6<4?7HG<8F4<7<A:4A7458GG<A:

 - +  OO  6           BEEHCG?LB5FGEH6G<A:<A9?H8A6<A:BE<@C87<A:4ALB99<6<4?
                                      CEB6887<A:BE4GG8@CGGB7BFB4<7<A:4A7458GG<A:

 - +  O 4                B@@<GG<A:BE4GG8@CG<A:GB6B@@<G4AL46GGBB5FGEH6G
                                      <@C878BE<AG8E98E8J<G;4AL9<E8@4ABE?4J8A9BE68@8AG
                                      B99<68E?4J9H??L8A:4:87<AG;8?4J9H?C8E9BE@4A68B9;<F
                                      B99<6<4?7HG<8F<A6<78AGGB4A77HE<A:G;86B@@<FF<BAB94
                                      6<I<?7<FBE78EJ;<6;<A4ALJ4LBE78:E88B5FGEH6GF78?4LF
                                      BE47I8EF8?L49986GF6B@@8E68BEG;8@BI8@8AGB94AL
                                      4EG<6?8BE6B@@B7<GL<A6B@@8E68BEG;86BA7H6GBE
                                      C8E9BE@4A68B94AL9878E4??LCEBG86G879HA6G<BA

 - +  OO    84A7 <FBE78E?L4A77<FEHCG<I86BA7H6G4A746GFB9C;LF<64?
                                      I<B?8A68BA4C<GB? EBHA7F4<7<A:4A7458GG<A:
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                                                               3:21-MJ-305
                                                         !.$$$$$$$$$$$$$$$$$$$$
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                          !    #

       ",4F>BE68(99<68E$L?8 &8GM58<A:9<EFG7H?LFJBEA;8E85L78CBF84A7FG4G84F

9B??BJF

                          

                "@4>8G;<F499<74I<G<AFHCCBEGB94A4CC?<64G<BAHA78E*H?8 B9G;8878E4?*H?8F

B9 E<@<A4? )EB687HE8 9BE 4 J4EE4AG GB F84E6; G;8 CE8@<F8F >ABJA 4F  !"  

                ;8E8<A49G8ES)*&"++T9HEG;8E78F6E<587<AGG46;@8AG9BE

G;8G;<A:F78F6E<587<AGG46;@8AG 

               "4@4,4F>BE68(99<68EJ<G;G;8878E4?HE84HB9"AI8FG<:4G<BA ";4I8588A

4FF<:A87 GB G;8 " 4F 4 ,4F> BE68 (99<68E F<A68 #4AH4EL       HEE8AG?L " 4@ G4F>87 J<G;

<AI8FG<:4G<A:6E<@<A4?46G<I<GLBAG;8- + 4C<GB?:EBHA7FBA#4AH4EL  F4,4F>BE68

(99<68E"4@4HG;BE<M875L?4JBE4 BI8EA@8AG4:8A6LGB8A:4:8<ABEFHC8EI<F8G;8CE8I8AG<BA

78G8AG<BA<AI8FG<:4G<BABECEBF86HG<BAB9I<B?4G<BAFB9878E4?6E<@<A4??4JF 

               ,;8946GF<AG;<F499<74I<G6B@89EB@@LC8EFBA4?B5F8EI4G<BAF@LGE4<A<A:4A7

8KC8E<8A684A7<A9BE@4G<BAB5G4<A879EB@BG;8E4:8AGFJ<GA8FF8F4A74:8A6<8F ,;<F499<74I<G<F
      Case: 3:21-mj-00305-PBS Doc #: 1 Filed: 08/11/21 Page: 10 of 65 PAGEID #: 10




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<AG8A787GBF;BJ@8E8?LG;4GG;8E8<FFH99<6<8AGCEB545?864HF89BEG;8E8DH8FG87J4EE4AG "G7B8F

ABGF8G9BEG;4??B9@L>ABJ?87:8BEG;8>ABJ?87:8B9BG;8EF45BHGG;<F@4GG8E 

               4F87BA@LGE4<A<A:4A78KC8E<8A684A7G;8946GF4FF8G9BEG;<AG;<F499<74I<G"

E8FC86G9H??LFH5@<GG;4GG;8E8<FCEB545?864HF8GB58?<8I8G;4GI<B?4G<BAFB9 - +  OO           4

 FF4H?G<A: *8F<FG<A: BE "@C87<A: 8EG4<A (99<68EF <7<A: 4A7 58GG<A:  - +   O

     6(5FGEH6G<BAB94A(99<6<4?)EB6887<A: - +  O 4<I<?<FBE78E4A7 

- +  OO      84A7<FBE78E?LBA7H6G4A7);LF<64?.<B?8A68BA4C<GB? EBHA7F

G;8S,4E:8G(998AF8FTG;4G;4I8588A6B@@<GG875L4I<7&!"SG;8+H5=86GT4A7BG;8E

<78AG<9<874A7HA<78AG<9<87C8EFBAF<A6?H7<A:BG;8EFJ;B@4L;4I8588A4<7874A7458GG875LBE

6BAFC<E<A:J<G;G;8+H5=86G4FJ8??4FBG;8EFB5F8EI875LG;8+H5=86G ,;8E8<F4?FBCEB545?8

64HF8GBF84E6;G;8)*&"++9HEG;8E78F6E<587<AGG46;@8AG9BEG;8G;<A:F78F6E<587<A

GG46;@8AG 

                                          

                         "% ! "$

               ,;8-A<G87+G4G8F4C<GB?)B?<68S-+)TG;8"4A74FF<FG<A:?4J8A9BE68@8AG

4:8A6<8F4E8<AI8FG<:4G<A:4E<BG4A7E8?4G87B998AF8FG;4GB66HEE874GG;8-A<G87+G4G8F4C<GB?

H<?7<A: ?B64G87 4G  <EFG +GE88G '/ /4F;<A:GBA           4G ?4G<GH78   4A7

?BA:<GH78        BA#4AH4EL  

               GG;8- + 4C<GB?G;85H<?7<A:<GF8?9;4F EBB@F6BI8E<A:   FDH4E8988G

B9:EBHA7EBH:;?L9BHE46E8F ,;85H<?7<A:<F 988G?BA:EBH:;?L@8G8EF9EB@ABEG;GB

FBHG;4A7 988GJ<78     @8G8EF4G<GFJ<78FGCB<AG ,;8- + 4C<GB?.<F<GBE8AG8E<F        

FDH4E8988G4A7<F?B64G87HA78E:EBHA7BAG;884FGF<78B9G;84C<GB? (AG;8J8FGF<78B9G;8
                                                  
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4C<GB?5H<?7<A:<FG;8/8FGEBAGJ;<6;<A6?H78FG;8<A4H:HE4?FG4:8F6499B?7<A:4I4E<8GLB9

BC8A 6BA6E8G8 FC468F 4 9BHAG4<A FHEEBHA787 5L 4 J4?>J4L GJB 5EB47 FG4<E64F8F 4A7 @H?G<C?8

G8EE468F4G846;9?BBE (AG;84FGEBAG4E8G;E88FG4<E64F8FCBEG<6BFBA5BG;G;8!BHF84A7+8A4G8

F<784A7GJB?4E:8F>L?<:;GF<AGBG;8.<F<GBEUF8AG8EFHEEBHA7875L46BA6E8G8C4E>J4L ??B9

G;<F4E84J4F54EE<647874A7B99?<@<GFGBG;8CH5?<6BA#4AH4EL  

               ,;8- + 4C<GB?<FF86HE87;BHEF474L5L-+) *8FGE<6G<BAF4EBHA7G;8- +

4C<GB? <A6?H78 C8E@4A8AG 4A7 G8@CBE4EL F86HE<GL 54EE<8EF 4A7 CBFGF @4AA87 5L -+)  (A?L

4HG;BE<M87C8BC?8J<G;4CCEBCE<4G8<78AG<9<64G<BA4E84??BJ874668FF<AF<78G;8- + 4C<GB? 

               (A#4AH4EL  4=B<AGF8FF<BAB9G;8-A<G87+G4G8FBA:E8FFJ4FF6;87H?87GB

6BAI8A8 4G G;8 - +  4C<GB? GB 68EG<9L G;8 IBG8 6BHAG B9 G;8 ?86GBE4? B??8:8 B9 G;8   

)E8F<78AG<4??86G<BAJ;<6;GBB>C?468BA'BI8@58E  S8EG<9<64G<BAT ,;88KG8E<BEC?4M4

B9G;8- + 4C<GB?J4F6?BF87GB@8@58EFB9G;8CH5?<6 

               6EBJ758:4AGB4FF8@5?8A84EG;84C<GB?4EBHA7  C @ 4FG8EA+G4A74E7

,<@8+,4A74G45BHG  C @ >ABJA4A7HA>ABJA<A7<I<7H4?F5EB>8G;EBH:;G;8CB?<68

?<A8F GBCC?87 G;8 BHGF<78 54EE<6478F CEBG86G<A: G;8 - +  4C<GB? 4A7 CHF;87 C4FG -+) 4A7

FHCCBEG<A:?4J8A9BE68@8AGB99<68EFG;8E8GBCEBG86GG;8- + 4C<GB? 

                 ,;8=B<AGF8FF<BA58:4A4G4CCEBK<@4G8?L        C @ <AG;8!BHF8;4@58E

                G4CCEBK<@4G8?L  C @ G;8!BHF84A7+8A4G847=BHEA87GBF8C4E4G86;4@58EF

GBE8FB?I84C4EG<6H?4EB5=86G<BA .<68)E8F<78AG&<>8)8A68J4FCE8F8AG4A7CE8F<7<A:9<EFG<AG;8

=B<AGF8FF<BA4A7G;8A<AG;8+8A4G86;4@58E ?FB4EBHA7G;<FG<@8-+)BE78E87BA:E8FF<BA4?

FG499GB8I46H4G8G;8!BHF84AABA(99<68H<?7<A:4A7G;8%<5E4ELB9BA:E8FF#4@8F&47<FBA

&8@BE<4?H<?7<A:<AC4EG5864HF8B94FHFC<6<BHFC46>4:89BHA7A84E5L )<C85B@5FJ8E8?4G8E
                                                
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9BHA7 A84E 5BG; G;8 8@B6E4G<6 '4G<BA4? B@@<GG88 4A7 *8CH5?<64A '4G<BA4? B@@<GG88

;847DH4EG8EF 

                FG;8CEB6887<A:F6BAG<AH87<A5BG;G;8!BHF84A7G;8+8A4G8-+)4GG8@CG87

GB>88CG;86EBJ74J4L9EB@G;84C<GB?5H<?7<A:4A7G;8CEB6887<A:FHA78EJ4L<AF<78 &87<4

E8CBEG<A:F;BJ874:EBHCB9<A7<I<7H4?FBHGF<78B9G;84C<GB?6;4AG<A:S!4A:&<>8)8A68 T"

>ABJ9EB@G;<F<AI8FG<:4G<BAG;4GFB@8<A7<I<7H4?F58?<8I87G;4G.<68)E8F<78AG)8A68CBFF8FF87

G;845<?<GLGBCE8I8AGG;868EG<9<64G<BAB9G;8CE8F<78AG<4?8?86G<BA4A7G;4G;<F94<?HE8GB7BFB@478

;<@4GE4<GBE 

                G4CCEBK<@4G8?L      C @ FB@8C8BC?8<AG;86EBJ79BE687G;8<EJ4LG;EBH:;

HC 4A7 BI8E 477<G<BA4? 54EE<6478F 4A7 ?4J 8A9BE68@8AG   ,;8 6EBJ7 47I4A687 GB G;8 8KG8E<BE

94N478B9G;85H<?7<A: ,;86EBJ7J4FABG?4J9H??L4HG;BE<M87GB8AG8EBEE8@4<A<AG;85H<?7<A:

4A7CE<BEGB8AG8E<A:G;85H<?7<A:AB@8@58EFB9G;86EBJ7FH5@<GG87GBF86HE<GLF6E88A<A:FBE

J84CBAF 6;86>F 5L -+) B99<68EF BE BG;8E 4HG;BE<M87 F86HE<GL B99<6<4?F   G FH6; G<@8 G;8

68EG<9<64G<BA CEB6887<A:F J8E8 FG<?? HA78EJ4L 4A7 G;8 8KG8E<BE 7BBEF 4A7 J<A7BJF B9 G;8 - + 

4C<GB?J8E8?B6>87BEBG;8EJ<F8F86HE87 &8@58EFB9?4J8A9BE68@8AG4GG8@CG87GB@4<AG4<A

BE78E4A7>88CG;86EBJ79EB@8AG8E<A:G;84C<GB? 

                G 45BHG     C @  <A7<I<7H4?F <A G;8 6EBJ7 9BE687 8AGEL <AGB G;8 - +  4C<GB?

<A6?H7<A:5L5E84><A:J<A7BJF4A75L4FF4H?G<A:@8@58EFB9?4J8A9BE68@8AG4FBG;8EF<AG;8

6EBJ78A6BHE4:874A74FF<FG87G;BF846GF )H5?<6?L4I4<?45?8I<78B9BBG4:8F;BJF4AHA>ABJA

<A7<I<7H4?F4L<A:GB46EBJ7BHGF<78G;84C<GB?5H<?7<A:S/8UE8:BAA49H6><A:G4>8G;<FTJ;<6;

LBHE499<4AG58?<8I8FJ4F4E898E8A68GBSG4><A:TG;8- + 4C<GB? 


                                                      
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              +;BEG?LG;8E849G8E4G4CCEBK<@4G8?L C @ @8@58EFB9G;8-A<G87+G4G8F!BHF8

B9*8CE8F8AG4G<I8F4A7-A<G87+G4G8F+8A4G8<A6?H7<A:G;8)E8F<78AGB9G;8+8A4G8.<68)E8F<78AG

&<>8)8A68J8E8<AFGEH6G87GBR4A77<7R8I46H4G8G;86;4@58EF ,;4G<F4GBE45BHGG;<FG<@8

-+)BE78E874??A84E5LFG499+8A4GBEF4A7E8CBEG8EF<AGBG;8+8A4G86;4@58E4A7?B6>87<G7BJA 

-+)BE78E874F<@<?4E?B6>7BJA<AG;8!BHF86;4@58E FE<BG8EF4GG8@CG87GB5E84><AGBG;8

!BHF86;4@58E5L5E84><A:G;8J<A7BJFBAG;86;4@58E7BBE?4J8A9BE68@8AGJ8E89BE687GB

7E4JG;8<EJ84CBAFGBCEBG86GG;8I<6G<@FF;8?G8E<A:<AF<78 

              G 4CCEBK<@4G8?L   C @  >ABJA 4A7 HA>ABJA FH5=86GF 5EB>8 J<A7BJF 4A7

CHF;87C4FG-+)4A7FHCCBEG<A:?4J8A9BE68@8AGB99<68EF9BE6<A:G;8<EJ4L<AGBG;8- + 4C<GB?

BA5BG;G;8J8FGF<784A7G;884FGF<78B9G;85H<?7<A: (A68<AF<78G;8FH5=86GF5EB>8J<A7BJF

4A77BBEF78FGEBL87CEBC8EGLFGB?8CEBC8EGL4A74FF4H?G879878E4?CB?<68B99<68EF &4ALB9G;8
                                                 
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9878E4?CB?<68B99<68EFJ8E8<A=HE874A7F8I8E4?J8E847@<GG87GBG;8;BFC<G4? ,;8FH5=86GF4?FB

6BA9EBAG874A7G8EEBE<M87@8@58EFB9BA:E8FFBA:E8FF<BA4?FG4994A7G;8@87<4 ,;8FH5=86GF

64EE<87J84CBAF<A6?H7<A:G<E8<EBAFF?87:8;4@@8EF584EFCE4L4A7G4F8EF ,;8L4?FBGBB>CB?<68

8DH<C@8AG9EB@BI8EEHACB?<68<A6?H7<A:F;<8?7F4A7CB?<6854GBAF G?84FGBA8B9G;8FH5=86GF

64EE<874;4A7:HAJ<G;4A8KG8A787@4:4M<A8 ,;8F846G<BAF5LG;8HA>ABJA<A7<I<7H4?FE8FH?G87

<AG;87<FEHCG<BA4A7H?G<@4G878?4LB9G;8IBG88EG<9<64G<BA 

              ?FB4G4CCEBK<@4G8?L C @ 4FFH5=86GFE846;87G;8E84E7BBEB9G;8!BHF8

;4@58E-+)BE78E87G;88I46H4G<BAB9?4J@4>8EF.<68)E8F<78AG&<>8)8A684A7CE8F<78AG

CEBG8@CBE8B9G;8+8A4G8;4E?8F E4FF?8L9BEG;8<EF498GL 

              G4EBHA7C @ FH5=86GF5EB>8<AGBG;8B99<68B9!BHF8+C84>8E'4A6L)8?BF<

G45BHGG;8F4@8G<@8BA8FH5=86GJ4FF;BG4A7><??87J;<?84GG8@CG<A:GB5E84><AGBG;8!BHF8

6;4@58EG;EBH:;G;85EB>8AJ<A7BJF 

              G 4EBHA7  C @  FH5=86GF 5EB>8 <AGB G;8 -A<G87 +G4G8F +8A4G8 ;4@58E

)H5?<6?L4I4<?45?8I<78BF;BJF4A<A7<I<7H4?4F><A:S/;8E84E8G;8LT4FG;8LBC8A87HCG;87BBE

GBG;8+8A4G8;4@58E 4F87HCBAG;86BAG8KG?4J8A9BE68@8AG58?<8I8FG;4GG;8JBE7SG;8LT<F

<AE898E8A68GB@8@58EFB9BA:E8FF 




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              9G8EFH5=86GF9BE6878AGEL<AGBG;8+8A4G8;4@58ECH5?<6?L4I4<?45?8I<78BF;BJF

G;4G4A<A7<I<7H4?4F>87S/;8E8G;89H6><F'4A6LT4F87HCBABG;8E6B@@8AGF4A7G;86BAG8KG

?4J 8A9BE68@8AG 58?<8I8F G;4G G;8 S'4A6LT 58<A: E898E8A687 J4F G;8 +C84>8E B9 G;8 !BHF8 B9

*8CE8F8AG4G<I8F'4A6L)8?BF< 




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             FH5=86G?89G4ABG8BAG;8CB7<H@BAG;89?BBEB9G;8+8A4G8;4@58E ,;<FABG8

64CGHE875LG;89<?@<A:E8CBEGFG4G87S&4GG8EB9,<@8#HFG<68<FB@<A: T




                                               
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              HE<A: G;8 G<@8 J;8A G;8 FH5=86GF J8E8 <AF<78 G;8 4C<GB? 5H<?7<A: @H?G<C?8

FH5=86GFJ8E8B5F8EI87<AF<78G;8- + 4C<GB?J84E<A:J;4G4CC84EFGB5854F87HCBA@LGE4<A<A:

4A78KC8E<8A68G46G<64?I8FGF4A764EEL<A:9?8K6H99F 4F87HCBA@L>ABJ?87:8GE4<A<A:4A7

8KC8E<8A68 " >ABJ G;4G 9?8K 6H99F 4E8 4 @4AA8E B9 E8FGE4<AG G;4G 4E8 78F<:A87 GB 58 64EE<87 <A

F<GH4G<BAFJ;8E84?4E:8AH@58EB9<A7<I<7H4?FJ8E88KC86G87GB58G4>8A<AGB6HFGB7L 




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             G4EBHA7C @ +,  &4LBE&HE<8?BJF8E4AABHA68746<GLJ<786HE98J

58:<AA<A:4G C @ 

             G45BHGC @ +,?4J8A9BE68@8AGB99<68EF6?84E87G;8+8A4G89?BBE 

             8GJ88AC @ +,4A74EBHA7 C @ +,?4J8A9BE68@8AGJ4F45?8GB

6?84EG;8- + 4C<GB?B94??G;8FH5=86GF 

             4F87BAG;8F88I8AGF4??CEB6887<A:FB9G;8-A<G87+G4G8FBA:E8FF<A6?H7<A:G;8

=B<AGF8FF<BAJ8E889986G<I8?LFHFC8A787HAG<?F;BEG?L49G8E     C @ +,G;8F4@874L "A?<:;G

B9G;874A:8EBHF6<E6H@FG4A68F64HF875LG;8HA?4J9H?8AGELGBG;8- + 4C<GB?<A6?H7<A:G;8

74A:8ECBF875L<A7<I<7H4?FJ;B;478AG8E87G;8- + 4C<GB?J<G;BHG4ALF86HE<GLF6E88A<A:FBE

J84CBAF 6;86> BA:E8FF<BA4? CEB6887<A:F 6BH?7 ABG E8FH@8 HAG<? 49G8E 8I8EL HA4HG;BE<M87

B66HC4AG;47?89GG;8- + 4C<GB?4A7G;85H<?7<A:;47588A6BA9<E@87F86HE87 ,;8CEB6887<A:F

E8FH@87 4G 4CCEBK<@4G8?L      C @  +, 49G8E G;8 5H<?7<A: ;47 588A F86HE87  .<68 )E8F<78AG

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)8A68 E8@4<A87 <A G;8 -A<G87 +G4G8F 4C<GB? 9EB@ G;8 G<@8 ;8 J4F 8I46H4G87 9EB@ G;8 +8A4G8

;4@58EHAG<?G;8F8FF<BAE8FH@87 

              8:<AA<A:4EBHA7       C @ +,G;8+8A4G8E8FH@87JBE>BAG;88EG<9<64G<BA

              8:<AA<A:4EBHA7       C @ +,G;8!BHF8E8FH@87JBE>BAG;88EG<9<64G<BA

              BG;6;4@58EFB9BA:E8FF@8G4A7JBE>87BAG;88EG<9<64G<BAJ<G;<AG;8

4C<GB?5H<?7<A:HAG<?4CCEBK<@4G8?L       4 @ +,BA#4AH4EL  

                                 ',,*.-'0%)'%11*'+.1

               HE<A:A4G<BA4?A8JF6BI8E4:8B9G;849BE8@8AG<BA878I8AGFI<78B9BBG4:8J;<6;

4CC84E87GB5864CGHE87BA@B5<?878I<68FB9C8EFBAFCE8F8AGBAG;8F68A878C<6G878I<78A68B9

I<B?4G<BAFB9?B64?4A79878E4??4J<A6?H7<A:F6BE8FB9<A7<I<7H4?F<AF<78G;8- + 4C<GB?5H<?7<A:

J<G;BHG4HG;BE<GLGB58G;8E8 

               4F87BA@LGE4<A<A:4A78KC8E<8A68">ABJG;4G<G<F6B@@BA9BE<A7<I<7H4?FGB

64EEL4A7HF8G;8<E68??C;BA8F7HE<A:?4E:8:4G;8E<A:FFH6;4FG;8:4G;8E<A:G;4GB66HEE87<AG;8

4E84B9G;8- + 4C<GB?BA#4AH4EL  +H6;C;BA8F4E8GLC<64??L64EE<874GFH6;:4G;8E<A:F

GB4??BJ<A7<I<7H4?FGB64CGHE8C;BGB:E4C;F4A7I<78B9BBG4:8B9G;8:4G;8E<A:FGB6B@@HA<64G8

J<G;BG;8E<A7<I<7H4?F45BHGG;8:4G;8E<A:FGB6BBE7<A4G8J<G;BG;8EC4EG<6<C4AGF4GG;8:4G;8E<A:F

4A7GBCBFGBAFB6<4?@87<44A77<:<G4?9BEH@F45BHGG;8:4G;8E<A:F 

              &4ALFH5=86GFF88ABAA8JF9BBG4:8<AG;84E84B9G;8- + 4C<GB?J8E8HF<A:4

68??C;BA8<AFB@864C46<GL "G4CC84EFG;4GFB@8FH5=86GFJ8E8E86BE7<A:4A7 BE?<I8FGE84@<A:

G;8 8I8AGF B66HEE<A: <A 4A7 4EBHA7 G;8 - +  4C<GB? 4A7 BG;8EF 4CC84E GB 58 G4><A: C;BGBF GB

<A6?H78C;BGBF4A7I<78BB9G;8@F8?I8F49G8E5E84><A:<AGBG;8- +4C<GB?<GF8?94A7C;BGBFB9
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G;8@F8?I8F 74@4:<A: 4A7 FG84?<A: CEBC8EGL  F E8CBEG87 <A G;8 A8JF @87<4 BG;8EF <AF<78 4A7

<@@87<4G8?L BHGF<78 G;8 - +  4C<GB? ?<I8 FGE84@87 G;8<E 46G<I<G<8F <A6?H7<A: G;BF8 78F6E<587

45BI84FJ8??4FFG4G8@8AGF45BHGG;8F846G<I<G<8F 

             );BGBF58?BJ4I4<?45?8BAI4E<BHFCH5?<6?L4I4<?45?8A8JFFB6<4?@87<44A7BG;8E

@87<4F;BJFB@8B9G;8FH5=86GFJ<G;<AG;8- + 4C<GB?7HE<A:G;8E<BG "AF8I8E4?B9G;8F8C;BGBF

G;8 <A7<I<7H4?F J;B 5EB>8 <AGB G;8 - +  4C<GB? 64A 58 F88A ;B?7<A: 4A7 HF<A: 68?? C;BA8F

<A6?H7<A:GBG4>8C<6GHE8F4A7 BEI<78BF




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 ;GGCF ?BF4A:8?8F 65F?B64? 6B@            6BA:E8FFJB@4A 64C<GB? 5H<?7<A: G4>8BI8E 4A 
4GG8@CG87 6BHC 

    ;GGCF JJJ 5HF<A8FF<AF<78E 6B@ E8CH5?<64AF B5=86G<A: GB 8?86GBE4? IBG8F <A 6BA:E8FF ?<I8
    HC74G8F  




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                                "! #  "$
               "AG;849G8EABBAB9#4AH4EL  4:EBHCB9<A7<I<7H4?F4GG8@CG87GB8AG8EG;8

4C<GB?H<?7<A:I<4G;87BBEF?B64G874GG;8%BJ8E/8FG,8EE468S%/,TB9G;85H<?7<A: ,;4G

:EBHC58:4AJ<G;4F@4??AH@58EB9<A7<I<7H4?F<A6?H7<A:4I<7&8;499<8SG;8+H5=86GT5HG

?4G8E:E8JGB<A6?H78;HA7E87FB9<A7<I<7H4?F@4ALB9J;B@64EE<87@4>8F;<9GJ84CBAFFH6;4F

9?4:CB?8F54GBAFC8CC8EFCE4LE<BGF;<8?7F4A7BG;8E8I8EL74L<G8@FG;4GJ8E8G;8AHF874:4<AFG

?4J8A9BE68@8AG4FG;8@B54GG8@CG87GB9BE688AGEL<AGBG;85H<?7<A: EB@4CCEBK<@4G8?L 

C @ GB C @ @4ALB9G;BF8<A7<I<7H4?F6B@5<A874A76BBE7<A4G87G;8<E899BEGF<A4A4GG8@CG

GB9BE68G;8<EJ4LG;EBH:;G;8%/,8AGE4A68 


                                 

 ;GGCF JJJ G;I    6B@ 4EG<6?8 A8JF 4E>4AF4F @4A FGBE@F 64C<GB? C8?BF<   4578 4 48 59
7 5 5  8




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                +G4EG<A: 4G 4CCEBK<@4G8?L   C @  - +  4C<GB? )B?<68 S-+)T 4A7

&8GEBCB?<G4A)B?<688C4EG@8AGS&)TB99<68EF9BE@874CB?<68?<A84GG;8%/,8AGE4A68GB

CE8I8AGG;8@B59EB@8AG8E<A:G;85H<?7<A:G;EBH:;G;4G8AGE4A68 (A#4AH4EL  G;8%/,

J4FHA78E:B<A:CE8C4E4G<BA9BEG;8<A4H:HE4G<BAB9ABJ )E8F<78AG<78A +6499B?7<A:;47588A

8E86G879BEG;8@87<44A7FG4<EFE<F8EF4A7BG;8E9?BBE<A:J4F<AC?468GB6E84G8G;8FG4:84E84

HCBAJ;<6;G;8<A4H:HE4G<BAJBH?7G4>8C?468 "AG;868AG8EB9G;8%/,<F4A4E6;J4LJ<G;4

F;BEG F8G B9 FG4<EF G;4G ?847F GB 4 F8G B9 7BH5?8 7BBEF J<G; :?4FF J<A7BJF G;BF8 7BBEF C8E@<G

8AGE4A687<E86G?L<AGBG;84C<GB?H<?7<A: FG;8@B54EE<I874GG;4G8AGE4A68?4J8A9BE68@8AG

CBF<G<BA87G;8@F8?I8F<AF<78B9G;8F86BA7F8GB97BBEF6?BF8FGGBG;8<AG8E<BEB9G;85H<?7<A: 

                "A 4 I<78B B5G4<A87 5L ?4J 8A9BE68@8AG <A G;8 6BHEF8 B9 G;8 E<BG <AI8FG<:4G<BA

S.<78B TG;8+H5=86G64A58F88AJ4?><A:HCG;88KG8E<BEG8EE468FG4<EF4A7<AGBG;8GHAA8?4F

C4EGB9G;8I8EL9<EFG:EBHCB9<A7<I<7H4?FGB4GG8@CGGB5E846;G;84C<GB?G;EBH:;G;4G8AGE4A68 

"AG;4GI<78BG;8+H5=86G<F64CGHE87BA64@8E49EB@58;<A7J4?><A:HCG;8FG4<EF4A7<AGBG;8

GHAA8? F;8J4?>FHCG;8FG4<EF;<F546><FI<F<5?8GBG;864@8E44A7;8<FJ84E<A:4?<:;G :E8L

S;BB7<8T FGL?8FJ84GF;<EG ,;8546>B9;<F;847<F4?FBI<F<5?8GBG;864@8E4F;BJ<A:F;BEG:E8L

;4<E 



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 +<A68#4AH4EL  G;<F4E84;4F586B@86B??BDH<4??L>ABJA4FSG;8GHAA8? T(A#4AH4EL  G;8FG4<EF
?847<A:9EB@G;84C<GB?7BBEF7BJAGBG;8%BJ8E/8FG,8EE468;47588A6BI8E875L4C?4G9BE@FBG;4GG;8GHAA8?
9?BBEJ4F9?HF; GG;88AGE4A68GBG;8GHAA8?FG4<EFG;8A?877BJAGBG;8%BJ8E/8FG,8EE468<GF8?9 "AG;8C4FG
)E8F<78AG 8?86GF<A6?H7<A:ABJ )E8F<78AG<78AJ4?>87G;EBH:;G;8%/,8AGE4A687BBEF4A7G;8GHAA8?4A7G;8A
7BJAG;8FG4<EFGBG;8<A4H:HE4G<BAFG4:8 




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              (A68<AF<78B9G;8GHAA8?.<78B 78C<6GFG;8+H5=86GFG4A7<A:J<G;;<F546>GBG;8

64@8E4946<A:G;89<EFGF8GB97BBEF "AG;4GCBEG<BAB9G;8I<78BG;8:?4FFJ<A7BJF<AG;89<EFGF8G

B97BBEF4CC84EGB58HA5EB>8A GG;8F4@8G<@8&)+:G  J4FFG4A7<A:BAG;8BG;8EF<78B9

G;8:?4FF7BBEFBCCBF<G8B9G;8+H5=86G4F?4J8A9BE68@8AGCE8C4E87GB7898A7G;88AGE4A689EB@

G;8<A6B@<A::EBHCB9E<BG8EF +:G  UFB7L/BEA4@8E4/G;8A64CGHE8FG;8+H5=86G4G

4CCEBK<@4G8?LC @ FG4A7<A:<@@87<4G8?LBHGF<78B9G;89<EFGF8GB97BH5?87BBEFE8C84G87?L

HF<A:;<F9<FGGBCBHA7BAG;8HA5EB>8A:?4FFJ<A7BJ ,;8+H5=86GUF9468<F@B@8AG4E<?LI<F<5?8

<AG;8/B9+:G  4F<FG;89EBAGB9;<F?<:;G :E8L;BB7<8J;<6;;4F4I8EG<64?M<CC8E<AG;8

68AG8E -A78EA84G;;<F;BB7<8G;8+H5=86G<FJ84E<A:474E>:E8LBE5?46>F;<EGJ<G;45?H8:4<G8E

4EBHA7;<FA86> &B@8AGF?4G8E4ABG;8EE<BG8EJ;B<FFG4A7<A:A84EG;8+H5=86GHF8F4@4>8F;<9G

J84CBAGB5E84>G;8:?4FFJ<A7BJBHGB9G;87BBEG;4GG;8+H5=86G;47588ACBHA7<A:BA 

              (A68 G;8 :?4FF <F 5EB>8A .<78B  78C<6GF 4ABG;8E E<BG8E L4A><A: G;8 9<EFG F8G B9

7BBEFBC8A4A7;B?7<A:G;87BBEBC8A4FG;8+H5=86GJ4?>FG;EBH:; ,;8+H5=86G<FG;8I8EL9<EFG

E<BG8EGBJ4?>G;EBH:;G;89<EFGF8GB97BBEF !8G;8AJ4?>F7<E86G?LHCGBG;8F86BA7F8GB97BBEF

BC8AFG;87BBEF4A7;B?7FG;87BBEBC8A9BEBG;8EE<BG8EF FG;8+H5=86GBC8AFG;87BBE.<78B

 F;BJF4J4??B9-+)4A7&)B99<68EFJ;B;4I89BE@874;H@4A54EE<6478GBCEBG86GG;8

8AGE4A689EB@58<A:5E846;87 FG;8+H5=86G;B?7FG;87BBEBC8ABG;8EE<BG8EF58:<A4GG46><A:

G;8-+)4A7&)B99<68EFJ<G;G;8<E;4A7F4A7J<G;@4>8F;<9GJ84CBAF<A6?H7<A:9?4:CB?8F 

FG;89<EFG4GG46>58:<AF4@4?8IB<6864A58;84E7F4L<A:SBAUG;HEGG;8CB?<68 T,;864@8E4

7B8FABG6?84E?L<78AG<9LG;8FC84>8E5HGG;8+H5=86GUF;4A764A58F88AE4<F87<AG;84<E4GG;8G<@8

G;8JBE7F4E8FCB>8A +;BEG?LG;8E849G8EG;8+H5=86G4CC84EFGB94??<AGBG;89EBAG?<A8B9B99<68EF

4A7<F@B@8AG4E<?L64H:;G58GJ88AG;8?<A8B9B99<68EF4A7G;8?<A8B9E<BG8EF 
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               +HEI8<??4A68 I<78B ,. 9EB@ G;8 %/, GHAA8? 6BA9<E@87 G;4G G;8 +H5=86G

8AG8E87G;8GHAA8?4A7C4EG<6<C4G87<AG;8@B5UF46G<I<G<8FBA#4AH4EL  ,;4G,.9BBG4:8

J;<6;<A6?H78FG<@8FG4@CF64CGHE87G;8+H5=86GJ4?><A:HCG;8FG8CFGBG;8GHAA8?4G C @ 

,;8+H5=86G64AG;8A58F88A@BI<A:9BEJ4E7<AG;8GHAA8?GBJ4E7G;89<EFGF8GB97BH5?87BBEF

589BE8 7<F4CC84E<A:9EB@G;8I<8JB9G;864@8E4 ,;8F6E88AF;BG58?BJ64CGHE8FG;8+H5=86G

8AG8E<A:G;8GHAA8?4G4CCEBK<@4G8?L C @ 


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
 ,;8,.64@8E4<F?B64G87<AF<78B9G;8GHAA8?946<A:BHGGBJ4E7G;88KG8E<BEG8EE468 H8GBG;84A:?8B9G;<F
64@8E4<G7<7ABG64CGHE8G;8FC468<@@87<4G8?L<A9EBAGB9G;89<EFGF8GB97BBEF 




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               8GJ88AC @ 4A7 C @ G;8+H5=86GE8@4<A87<AF<78G;8GHAA8?5HGBHG

B9G;8I<8JB9G;864@8E4 G C @ ,.9BBG4:84:4<A64CGHE87G;8+H5=86G8K<G<A:G;8

GHAA8?@4><A:;<FJ4LG;EBH:;G;86EBJ74A7546>GBJ4E7G;8GHAA8?8AGE4A68 F;8J4?>87

G;EBH:;G;86EBJ7;8J4I87;<F4E@<AG;84<E4F<9GB6?84EG;86EBJ7BHGB9;<FJ4L 

               /;8A G;8 +H5=86G E846;87 G;8 GHAA8? 8AGE4A68 4G 4CCEBK<@4G8?L  C @  ;8

6?<@587HCBA4E4<F87C?4G9BE@4GG;8GHAA8?8AGE4A68C?46<A:;<@F8?9F8I8E4?988G45BI8G;8BG;8E

E<BG8EF<AG;8GHAA8? EB@G;4G8?8I4G87CBF<G<BAG;8+H5=86GJBH?7;4I8;4747<E86G?<A8B9F<:;G

<AGB G;8 GHAA8? 4??BJ<A: ;<@ GB F88 G;8 8AG<E8 6EBJ7 <A G;8 GHAA8? 4F J8?? 4F G;8 CB?<68 ?<A8

54EE<647<A: G;8 8AGE4A68   ,. 9BBG4:8 F;BJF G;8 +H5=86G E8@4<A<A: <A G;8 8?8I4G87 CBF<G<BA

9EB@4CCEBK<@4G8?LC @ GB C @ J;8AG;8CB?<689BE687G;8:EBHCB9E<BG8EFBHGB9G;8

GHAA8?9BE4F;BEGC8E<B7B9G<@8 ,;8F6E88AF;BG58?BJF;BJFG;8+H5=86G4G4CCEBK<@4G8?L

C @ F;BEG?L49G8E6?<@5<A:HCGBG;88?8I4G87CBF<G<BA4GG;84E6;J4L 


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            /;8A G;8 +H5=86G <A<G<4??L 6?<@587 GB G;8 8?8I4G87 4E6;J4L CBF<G<BA ;8 J4F

J84E<A: G;8 ?<:;G :E8L S;BB7<8T FGL?8 FJ84GF;<EG 78C<6G87 45BI8 4F 4A BHG8E ?4L8E   G

4CCEBK<@4G8?LC @ ,.64CGHE8F;<@E8@BI<A:G;8BHG8E?<:;G:E8LFJ84GF;<EG (A68G;8

?<:;G:E8LFJ84GF;<EG<FE8@BI87G;8+H5=86G6BAG<AH87J84E<A:G;874E>8E:E8LBE5?46>F;<EGG;4G

;47CE8I<BHF?L588AHA78EG;8FJ84GF;<EGJ<G;G;85?H8:4<G8E4EBHA7;<FA86> !84?FB4CC84EFGB

;4I8?<:;G <A 6B?BE84EC;BA8FBEBG;8EF<@<?4E<G8@7E4C874EBHA7;<FA86> ,;884EC;BA8 ?<>8

<G8@<FI<F<5?85BG;589BE84A749G8EG;8+H5=86GE8@BI8F;<FFJ84GF;<EG 




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             HE<A:G;84CCEBK<@4G8?L@<AHG8FG;4GG;8+H5=86G FGBB745BI8G;86EBJ7B9

E<BG8EF;8;8?C87GB6BBE7<A4G8G;8@B5UF46G<BAF5L4GG8@CG<A:GBBE:4A<M84A77<E86G<A7<I<7H4?F

<A4A74EBHA7G;8GHAA8? ,.F;BJFG;8+H5=86GE8C84G87?LHF<A:;<F4E@FG;EBH:;BHGG;4GG<@8

C8E<B7GB7<E86GG;8@B55LJ4I<A:CB<AG<A:4A7:8FGHE<A:GBG;86EBJ7 !864A4?FB58F88A

4FF<FG<A:@8@58EFB9G;8@B54FG;8LC4FF<G8@F546>4A79BEG;<AG;8GHAA8?<A6?H7<A:E<BGF;<8?7F

FGB?8A9EB@?4J8A9BE68@8AG4A7?4G8EHF875LE<BG8EF4:4<AFGCB?<68B99<68EF ,;8F4@8,.

4?FBF;BJFG;4GG;8+H5=86G4CC84EFGB58FC84><A:4A7F;BHG<A:G;EBH:;BHGG;4G @<AHG8C8E<B7 

,;8,.I<78B4I4<?45?89BEE8I<8J5LG;8499<4AGGB74G87B8FABG<A6?H784H7<B 

             HE<A:G;8G<@8C8E<B79EB@C @ GB C @ J;<?8G;8+H5=86GJ4FFG4A7<A:

<AG;88?8I4G87CBF<G<BA4GG;8GHAA8?4E6;J4LBG;8E@8@58EFB9G;8@B58A:4:87<AAH@8EBHF

4FF4H?GF4A746GFB9I<B?8A684:4<AFG?4J8A9BE68@8AG<AF<78B9G;8GHAA8? ,;8F846GF<A6?H785HG

4E8ABG?<@<G87GBFCE4L<A:6;8@<64?4:8AGFFH6;4FC8CC8EFCE4L<AG;87<E86G<BAB9G;8CB?<68

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?<A8HF<A:;4A7F4A79<FGFGBFGE<>8<AG;87<E86G<BAB9G;8CB?<68?<A8HF<A:9?4:CB?8F54GBAFBE

F<@<?4E<G8@FGBFGE<>8<AG;87<E86G<BAB9G;8CB?<68?<A8G;EBJ<A:AH@8EBHFB5=86GFQ<A6?H7<A:

CB?8F5BGG?8FC?4FG<65BK8F4A78I8A49<E86E46>8EQ<AG;87<E86G<BAB9G;8CB?<68?<A8FC<GG<A:

GBJ4E7G;8CB?<68?<A89?4F;<A:4FGEB58?<:;G<AG;87<E86G<BAB9G;8CB?<68?<A84A7HF<A:FGB?8A

?4J8A9BE68@8AGF;<8?7FGBFGE<>84A7CHF;B99<68EF<AG;8CB?<68?<A8 

            (AF8I8E4?B664F<BAF7HE<A:G;4GC8E<B7E<BG8EF<AG;8GHAA8?JBH?74?FB4@4FFG;8<E

6B??86G<I85B7LJ8<:;G4A76BBE7<A4G8G;8<E899BEGF5LE8C84G87?LCHF;<A:4F4:EBHC4:4<AFGG;8

CB?<68?<A8<A4A4CC4E8AG899BEGGB9BE68G;8<EJ4LG;EBH:;G;8?<A8J;<?86B??86G<I8?LF;BHG<A:

S!84I8;BT(A8FH6;@4FF899BEG5LG;8@B5B66HEE87<AF<78B9G;8GHAA8?4G4CCEBK<@4G8?L 

C @ #HFGCE<BEGBG;8@4FFCHF;4:4<AFGG;8CB?<68?<A8G;8AH@58EB9E<BG8EF<AG;8GHAA8?;47

786E84F87?84I<A:I464AGFC468<AG;8GHAA8? ,.F;BJFG;4G4FG;8AH@58EB9E<BG8EF<AG;8

GHAA8?786E84F87QG;8E85LE8?<8I<A:CE8FFHE8BAG;8B99<68EF7898A7<A:G;88AGE4A68QG;8+H5=86G

58:4A4A<@4G87?L:8FGHE<A:GBE<BG8EFFG4A7<A:BHGF<78B9G;8GHAA8?GB@BI8<AF<78B9G;8GHAA8?

GB9<??<AG;8I464AGFC468 &H?G<C?8<A7<I<7H4?FE8FCBA7874A7DH<6>?L58:4A8AG8E<A:G;8GHAA8? 

FG;8I464AGFC46858:4AGB9<??J<G;477<G<BA4?5B7<8FG;8E85L<A6E84F<A:G;84@BHAGB99BE68

4A7J8<:;GG;4G6BH?7586B??86G<I8?L4CC?<87G;8@B558:4AGBE8C84G87?LCHF;4:4<AFGG;8CB?<68

?<A8 F<@<?4EF68A4E<BB66HEE874:4<A4G4CCEBK<@4G8?L C @ (AG;<FB664F<BAG;8AH@58E

B9E<BG8EF<AG;8GHAA8?;474:4<A786E84F87?84I<A:I464AGFC46858GJ88AE<BG8EF ,;8+H5=86G

4:4<A58:4A:8FGHE<A:GBG;86EBJ7BHGF<78BAG;8G8EE468GB8AG8EG;8GHAA8? &H?G<C?8E<BG8EFG;8A

@BI87<AF<78B9G;8GHAA8?5H<?7<A:HCG;89BE684A7J8<:;GG;4G6BH?7586B??86G<I8?L4CC?<87

4:4<AFGG;8?<A8B9B99<68EF &B@8AGF?4G8EG;8@B54:4<A8A:4:87<A4@4FFCHF;HF<A:G;8<E

6B??86G<I85B7LJ8<:;GGB4GG8@CGGB9BE68G;8<EJ4LG;EBH:;G;8CB?<68?<A84A7<AGBG;85H<?7<A: 
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               G4CCEBK<@4G8?L C @ ?4J8A9BE68@8AGFH668FF9H??LCHF;87G;8@B5546>

BHGB9G;8GHAA8?4A7BHGBAGBG;8G8EE468 FB99<68EFCHF;879BEJ4E7GBJ4E7G;8GHAA8?8AGE4A68

G;8 +H5=86G E8@4<A87 <A G;8 8?8I4G87 CBF<G<BA 4G G;8 4E6;J4L 4F B99<68EF 4CCEB46;87   +8I8E4?

B99<68EF4GG8@CG87GB:8GG;8+H5=86G7BJA5HG;8C;LF<64??LE8F<FG87G;8<E899BEGFGB@BI8;<@ 

(A?L49G8E@H?G<C?84GG8@CGF5LB99<68EFGB9BE68;<@9EB@;<FCBF<G<BA7<7G;8+H5=86G9<A4??LFG8C

7BJABAGBG;8G8EE468 

               (C8A FBHE68I<78BCBFG879B??BJ<A:G;8#4AH4EL  E<BG64CGHE8FFB@8B9G;8

+H5=86GUF JBE7F 7HE<A: G;8  @<AHG8 C8E<B7 J;8A ;8 7<E86G87 E<BG8EF J;<?8 BA G;8 8?8I4G87

C?4G9BE@4GG;84E6;J4L "ABA8I<78BCE8I<BHF?LCBFG87GB1BH,H58J<G;G;8G<G?8S#HFGABG;8E

;4AA8?4AA87.<78B"A9B/4EFTG;8+H5=86G<F64CGHE87BAI<78B4G@H?G<C?8CB<AGF4F;8<F

FG4A7<A:4GG;84E6;J4L8?8I4G8745BI8G;86EBJ7 GBA8CB<AGG;8+H5=86G4FF<FGFG;86EBJ7B9

E<BG8EF <A C4FF<A: 4 FGB?8A CB?<68 E<BG F;<8?7 BHGB9 G;8 GHAA8? 4A7 BHG BAGB G;8 G8EE468   F G;8

+H5=86G:E45FG;8F;<8?7;8;B?7F<G;<:;<AG;84<EJ;<?8F6E84@<A:S184;T4F<FF;BJA<AG;8

F6E88AF;BG58?BJ ,;86EBJ76;88EF<AE8FCBAF84A7G;8+H5=86G;4A7FG;8F;<8?7GB4ABG;8EE<BG8E

BAG;8G8EE468 




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G4?4G8ECB<AG<AG;8F4@8I<78BG;8+H5=86G<FF;BJA7<E86G<A:G;86EBJ7<A4A7BHGB9G;8GHAA8? 

,;8 I<78B F;BJF ;<@ E4<F<A: ;<F E<:;G ;4A7 <A G;8 4<E 4A7 ?BH7?L F6E84@<A: S!8LT GB :8G G;8

4GG8AG<BAB9G;86EBJ7FG4A7<A:A84EG;8GHAA8?8AGE4A68 !8<FG;8A64CGHE87BAI<78BF;BHG<A:GB

G;86EBJ7S"9LBH4E8:B<A:<A:8GBAG;<FF<78TJ;<?8CB<AG<A:GBG;8E<:;GF<78B9G;8GHAA8? !8

G;8AF;BHGFGBG;86EBJ7S"ABAG;<FF<78BHGBAG;<FF<78"ABAG;<FF<78BHGBAG;<FF<78TF

;8F;BHGF;8CB<AGFS<ATGBJ4E7G;8E<:;GF<78B9G;8GHAA8?4A7:8FGHE8FSBHGTBAG;8?89GF<78B9

G;8GHAA8? G?84FGBA8@8@58EB9G;86EBJ7E8FCBA7FGBG;8+H5=86GUF7<E86G<BA4A7E8C84GFG;8

E89E4<AS"ABAG;<FF<78BHGBAG;4GF<78 T




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            ,;8 +H5=86G <F 4?FB 64CGHE87 <A 4 F86BA7 CH5?<6?L 4I4<?45?8 I<78B 4:4<A

6BBE7<A4G<A:J<G;BG;8EE<BG8EF "A4I<78B9<?@875LC;BGB=BHEA4?<FG#BA4E<A4G;8+H5=86G64A

58;84E7BAI<78BFC84><A:GBBG;8EE<BG8EF4FG;8L4GG8@CGGB8AG8EG;8GHAA8? ,;8+H5=86G?84AF

GBJ4E7F8I8E4?<A7<I<7H4?F4GG;8GHAA8?8AGE4A68F4L<A:S!8L:HLF?<FG8A !8L?<FG8AHC"9LBH

:B9HEG;8E2<A7<F68EA<5?83G;8L4E8FDH<F;<A:C8BC?8 +GBCG;8E8G;8AJ8J<??FJ<G6;BHG T




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             !8G;8A7<E86GFE<BG8EFGBS)HF;CHF;TGG;8F4@8G<@84E<BG8E<AF<78B9G;8

GHAA8?I<B?8AG?LFGE<>8F4GG;8CB?<68?<A8J<G;4CB?8 /;8A4ABG;8EE<BG8EG;EBJF4?4E:8L8??BJ

C?4FG<65BK<AGBG;8GHAA8?G;8+H5=86GL8??FSBAUGG;EBJF;<G:HLF BAUG;HEG2<A7<F68EA<5?83 T

"AG;8F4@8I<78B49G8ECB?<68E8@BI8G;8+H5=86G9EB@;<F8?8I4G87CBF<G<BAG;8+H5=86GFG4A7F

<AG;89EBAGB9G;84E6;J4L4A7L8??FGBG;86EBJ7S+<G7BJAF<G7BJAT

              9G8E 58<A: E8@BI87 9EB@ ;<F 8?8I4G87 CBF<G<BA 4G G;8 4E6;J4L G;8 +H5=86G

E8@4<A87 4G G;8 GHAA8? 8AGE4A68 9EB@ 4CCEBK<@4G8?L   C @  GB   C @   HE<A: G;4G G<@8

C8E<B7G;8+H5=86GFG4L874GG;8@BHG;B9G;8GHAA8?4FBG;8EE<BG8EF6BAG<AH87G;8<E899BEGFGBCHF;

G;EBH:;G;8CB?<68?<A84A7GB:4<A8AGE4A68<AGBG;85H<?7<A: 


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               B??BJ<A: #4AH4EL     G;8 " BC8A87 4A <AI8FG<:4G<BA <AGB G;8 <A7<I<7H4?

78F6E<58745BI8 FC4EGB9G;8<AI8FG<:4G<BABA4CCEBK<@4G8?L#4AH4EL   G;8"<FFH87

4ABG<68GBG;8CH5?<678F<:A4G<A:G;4G<A7<I<7H4?4FS(T4A7E8DH8FG<A:<A9BE@4G<BA9EB@

G;8CH5?<6GB;8?C<78AG<9L;<@ 

              "AE8FCBAF84BA9<78AG<4?!H@4A+BHE68!+HF<A:CH5?<6?L4I4<?45?8@8G;B7F

E8CBEG87GBG;8"G;4G(J4FCBFF<5?L<78AG<9<45?84FS4I<7&8;499<8TB94LGBA(;<B 

,;8!+477<G<BA4??LCEBI<787CBFF<5?8<78AG<9<8EF9BE(<A6?H7<A: 4CBFF<5?8477E8FF

BA+4AG4EHMI8<A4LGBA(;<BCBFF<5?8C;BA8AH@58EFB9000 000 4A7000

000   CBFF<5?8 4685BB> " B9   4A7  CBFF<5?8 "AFG4:E4@ B9

58?@BAG:L@ ,;8!+4?FBCEBI<787G;8"J<G;477<G<BA4??<A>FGBFB6<4?@87<4E8?4G87GB

G;8+H5=86G4A7G;8#4AH4EL  E<BG ,;8!+<F@BG<I4G875L9<A4A6<4?6B@C8AF4G<BA4A7

;4FCEBI<787E8?<45?8<A9BE@4G<BAGBG;8"F<A68&4E6;B9  

              ,;EBH:;4E8I<8JB9BC8A FBHE684A7(;<BHF<A8FFE86BE7FG;8"78G8E@<A87

G;4GS58?@BAG:L@TJ4F4FFB6<4G87J<G;G;88?@BAG L@8?@BAG L@%%<A4LGBA

(;<B 4 6B@C4AL J;<6; <F E8:<FG8E87 GB 4 S$L@58E?L&8;499<8 T  ,;8 477E8FF B9 G;8 :L@ J4F

CEBI<7874F /4G8EI?<8GI8AH8<A4LGBA(;<B E8I<8JB9G;88?@BAG L@4685BB>

C4:8 F;BJF 4A <@4:8 B9 G;8 E8CBEG87 BJA8E G;8 +H5=86G   ,;8 <@4:8 BA G;8 8?@BAG L@

4685BB>C4:8J4F6B@C4E87GBG;8<@4:8B9(4A7E84FBA45?L4CC84E87GB58G;8F4@8

C8EFBA 

              E8I<8JB9?4J8A9BE68@8AG74G454F8FL<8?787CBFF<5?8477E8FF8F9BE4I<74A7

$L@58E?L&8;499<84F 4A477E8FFBA+4AG4EHMI8AH8<A4LGBA(;<B4A7             8J8L
                                                   
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E<I8<A$8GG8E<A:(;<B 4I<74A7$L@58E?L&8;499<8;B?7G;8@F8?I8FBHG4F58<A:@4EE<87

4A7FHEI8<??4A68?4G8E6BA9<E@87G;4GG;8L?<I84GG;8$8GG8E<A:(;<B477E8FF 


                4I<7 &8;499<8UF 7E<I8EUF ?<68AF8 6HEE8AG?L ?<FGF ;<F 477E8FF 4F G;8 E8F<78A68 BA

+4AG4EHMI8AH8<A4LGBA(;<B !BJ8I8ECH5?<6E86BE7FF;BJG;4GG;8+4AG4EHMI8AH8

E8F<78A68J4F9BE86?BF87BA<A        4A7J4FCHE6;4F875L4S4?85&8;499<8TJ;B<F58?<8I87GB

584I<7&8;499<8UFFBA HE<A:FHEI8<??4A686BA7H6G87<A&4LB9  4GG;8+4AG4EHMI8AH8

477E8FF ?4J 8A9BE68@8AG 7<7 ABG B5F8EI8 8<G;8E 4I<7 &8;499<8 BE $L@58E?L &8;499<8 4G G;8

E8F<78A68 


                $L@58E?L &8;499<8UF 7E<I8EUF ?<68AF8 ?<FGF ;8E E8F<78A68 4F     8J8L E<I8 <A

$8GG8E<A:(;<B I8;<6?8E8:<FG8E87<A$L@58E?L&8;499<8UFA4@84A7584E<A:G;8(;<B?<68AF8

C?4G8S %T<F4?FB4FFB6<4G87J<G;G;8477E8FFB9           8J8LE<I8 8GJ88A&4L  

4A7&4L   ?4J8A9BE68@8AG6BA7H6G87FHEI8<??4A684G              8J8LE<I8BA4GBG4?B99BHE

F8C4E4G874LF (AG;E88B9G;89BHE74LF<A&4LB9  FHEI8<??4A68F;BJ874I<7&8;499<8

?84I<A:       8J8L E<I8 <A 4 E87 C<6> HC GEH6> J<G; (;<B E8:<FGE4G<BA !&-  J;<6; <F

E8:<FG8E87GB4S#4@8F&8;499<8 T%4J8A9BE68@8AG4?FBB5F8EI87$L@58E?L&8;499<8UFI8;<6?8

J<G;?<68AF8C?4G8AH@58ES %TC4E>87BAG;8CEBC8EGLBA@H?G<C?8B664F<BAF<A&4LB9

  "AFHEI8<??4A686BA7H6G87BAH:HFG   ?4J8A9BE68@8AG4:4<AB5F8EI87G;8I8;<6?8

J<G;?<68AF8C?4G8AH@58ES %TC4E>87BAG;8CEBC8EGL 


                 F84E6; B9 G;8 &BAG:B@8EL BHAGL (;<B H7<GBEUF (99<68 "+ @4CC<A: GBB?

F;BJFG;4G 8J8LE<I8<FG;89EBAGHA<GJ<G; 8J8LE<I858<A:GBG;8E84E "@4:858?BJ


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             6;86>B9?4J8A9BE68@8AGE86BE7F<A7<64G87G;4GG;8477E8FFB9       8J8LE<I8

<F4FFB6<4G87J<G;$L@58E?L&8;499<84FB9'BI8@58E   ,;8F4@8E86BE7F6;86>4?FB

<A7<64G87G;4GG;8477E8FFB9 8J8LE<I8<F4FFB6<4G87J<G;BG;8E<A7<I<7H4?FJ;B;4I8AB

>ABJA6BAA86G<BAGB8<G;8E4I<7&8;499<8BE$L@58E?L&8;499<8 

              ?B64? ?4J 8A9BE68@8AG E86BE7F 6;86> 4?FB CEB7H687 G;8 9B??BJ<A: G8?8C;BA8

AH@58EF9BE4I<74A7$L@58E?L&8;499<84F 000 000 4A7000 000                         

%8:4? CEB68FF 6BA9<E@87 G;4G 5BG; C;BA8 AH@58EF 4E8 E8:<FG8E87 GB 4A <A7<I<7H4? A4@87

S$L@58E?L &8;499<8T 4A7 G;4G 5BG; C;BA8 AH@58EF J8E8 <A G;8 ?B64G<BA B9 G;8 - +  4C<GB?

H<?7<A:BA#4AH4EL  



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              (ACE<?  G;8499<4AG6BA7H6G87FHEI8<??4A684GG;88?@BAG L@?B64G87

4G /4G8EI?<8GI8AH8<A4LGBA(;<B C4<AG87@8FF4:8BAG;89EBAGJ<A7BJB9G;85HF<A8FF

47I8EG<F87G;8F4?8B9:L@8DH<C@8AG4A7G;86BAG46GAH@58E?<FG879BEG;88DH<C@8AGJ4F000

000 BA8B9G;8C;BA8AH@58EF4FFB6<4G87J<G;G;8+H5=86G A",4F>BE68(99<68E

?4G8E4GG8@CG87GB@4>8G8?8C;BA86BAG46GHF<A:G;8AH@58E4A7E846;874IB<68@4<?@8FF4:8 

@4?8IB<68BAG;8@8FF4:8<A7<64G87G;4G<GJ4FG;8+H5=86G4A74@8FF4:8J4F?89G4F><A:45BHG

G;8:L@8DH<C@8AG 

              (ACE<?   4A",4F>BE68(99<68EJ8AGGBG;88?@BAG L@GB<ADH<E8

45BHGG;8:L@8DH<C@8AG ,;8,4F>BE68(99<68EFCB>8J<G;4@4?84GG;8?B64G<BAJ;B<78AG<9<87

;<@F8?94FS4I8 T5E<896BAI8EF4G<BAGBB>C?468J<G;G;8,4F>BE68(99<68EA8I8E<78AG<9L<A:

;<F4FFB6<4G<BAGBG;8" ,;8,4F>BE68(99<68E;47CE8I<BHF?LI<8J87<@4:8FB9G;8+H5=86G

9EB@G;84C<GB?4A76BA9<E@87G;4G<G4CC84E87GB58G;8F4@8C8EFBA 

             (A&4L  G;8499<4AG4?BA:J<G;4A"+C86<4?:8AG<AG8EI<8J879BHE

CBFF<5?8 J<GA8FF8F J;B JBE> <A G;8 I<6<A<GL B9 G;8 8?@BAG L@   ,;8 9BHE J<GA8FF8F J8E8

<AG8EI<8J87 F8C4E4G8?L 4A7 4?? 9BHE J<GA8FF8F J8 F;BJA <78AG<64? <@4:8F B9 (  G4>8A <A

/4F;<A:GBA  BA#4AH4EL  46;CBG8AG<4?J<GA8FFJ4FG;8A4F>87<9G;8L6BH?7<78AG<9L

G;8@4?8<A7<I<7H4?<AG;8<@4:8F 

             ,;8 9<EFG C8EFBA <AG8EI<8J87 ;8E8<A49G8E /  JBE>F BA G;8 F4@8 5?B6> 4F G;8

8?@BAG L@ 9G8EI<8J<A:G;8<@4:8FB9(/ F4<7G;4G<G@4L;4I8F88AG;8@4?8

CE8I<BHF?L5HGJ4FABGFHE8J;B<GJ4F ,;8F86BA7C8EFBA;8E8<A49G8E/ JBE>FBA85?B6>

9EB@G;88?@BAG L@ /;8A4F>87<9<G6BH?7<78AG<9LG;8@4?8<AG;8<@4:8F/ <A<G<4??L

<A7<64G87G;4GG;8@4?8<A7<I<7H4?7<7ABG?BB>94@<?<4E !BJ8I8EJ;8AG;88?@BAG L@J4F
                                              
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@8AG<BA87/ <A7<64G87G;4GG;8@4?8<AG;8<@4:8FS@<:;GT584I<7&8;499<85HGG;4GG;8L

J8E8ABGFHE8 

              ,;8 G;<E7 C8EFBA <AG8EI<8J87 ;8E8<A49G8E /  JBE>F BA G;8 F4@8 5?B6> 4F G;8

8?@BAG L@ 9G8EI<8J<A:G;8<@4:8FB9(/ CB<AG87<AG;87<E86G<BAB9G;88?@BAG

 L@4A7<78AG<9<87G;8<A7<I<7H4?4FG;8BJA8EB9G;8:L@ / 4?FB<A7<64G87G;4GG;8@4?8<A

G;8<@4:8F;474J<98J;B/ 58?<8I87BJA87S&8;499<8UF)<8F TS&8;499<8UF)<8FT<F4J8??

>ABJA?B64?C<8F;BC?B64G87<A4LGBA(;<B4A7<FBJA875L4A%% %4J8A9BE68@8AGJ4F

HA45?8GBI8E<9LJ;8G;8E$L@58E?L&8;499<8;4F4ABJA8EF;<C<AG8E8FG<AG;8C<8F;BC 

              ,;89BHEG;C8EFBA<AG8EI<8J87;8E8<A49G8E/ JBE>FBAG;8F4@85?B6>4FG;8

8?@BAG L@ 9G8EI<8J<A:G;8<@4:8F/ <78AG<9<87G;8@4?8<AG;8C;BGB:E4C;F4FS4I8

&8;499<8 T/ <A7<64G87G;4GG;8@4?8<AG;8<@4:8FJ4FS9BEFHE8TG;8+H5=86G4A7G;4G<G;47

S7BA85HF<A8FFJ<G;T4A7G4?>87J<G;G;8+H5=86GBA@4ALB664F<BAF 

              77<G<BA4? <AI8FG<:4G<BA 78G8E@<A87 G;4G 4 %<68AF8 )?4G8 *8478E %)* <A G;8

/4F;<A:GBA  4E8464CGHE874A<@4:8B94I8;<6?8584E<A:4A(;<B%<68AF8)?4G8B9S %T

BA#4AH4EL  ,;8I8;<6?8J4FGE4I8?<A:ABEG;5BHA7BA'BEG;%LAA+GE88G<AE?<A:GBA.

BI8EG;8E4A6<F+6BGG$8L&8@BE<4?E<7:8BAG;4G74G8 ,;8E8:<FG8E87BJA8EB9G;4GI8;<6?8

J4F78G8E@<A87GB58$L@58E?L&8;499<8J<G;G;8?<FG87477E8FFB9            8J8LE<I8$8GG8E<A:

(;<B I8;<6?8584E<A:G;8?<68AF8C?4G8S %TJ4FB5F8EI87C4E>874GG;8477E8FFB9                 

8J8LE<I8$8GG8E<A:(;<B@H?G<C?8G<@8F<A&4LB9  4A74:4<ABAH:HFG                 

              "A 477<G<BA GB G;8 <AI8FG<:4G<BA 78F6E<587 45BI8 G;8 " 4?FB 6BA7H6G87 BG;8E

<AG8EI<8JF 4A7 E868<I87 G<CF 9EB@ G;EBH:;BHG G;8 -A<G87 +G4G8F <A E8FCBAF8 GB G;8 E8DH8FG 9BE

<A9BE@4G<BA E8:4E7<A: (    (A &4E6;     4 78G86G<I8 9EB@ G;8 4LGBA )B?<68
                                              
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8C4EG@8AGJ;BCE8I<BHF?L;476BAG46GJ<G;4I<74A7$L@58E?L&8;499<8J4F<AG8EI<8J87 ,;8

8G86G<I8 J4F F;BJA <@4:8F 9EB@ G;8 4C<GB? 58?<8I87 GB 58 G;8 +H5=86G 5HG J4F HA45?8 GB

CBF<G<I8?L<78AG<9L;<@ ,B74G8G;8";4F4?FBE868<I874CCEBK<@4G8?L G<CFE8:4E7<A:(

 (A84ABAL@BHFG<CCBF<G<I8?L<78AG<9<87(4FS4I<7&8;499<8T4A78KC?4<A87G;4G

S2;384A7J<98$L@&8;499<84E85HF<A8FFBJA8EF<A4LGBA(;<BPT,J8?I8477<G<BA4?G<CF

CEBI<787<@4:8FB9(J<G;AB477<G<BA4?<A9BE@4G<BA<78AG<9L<A:G;8C8EFBA<AG;8<@4:8F 

,;8 E8@4<A<A: 9BHE G<CF <78AG<9<87 (  4F FB@8BA8 BG;8E G;4A G;8 +H5=86G   (A8 G<CFG8E

<78AG<9<87(4F4E8F<78AGB9&4FF46;HF8GGF ,;87E<I8EUF?<68AF8C;BGBB9G;8&4FF46;HF8GGF

E8F<78AGJ4FI<FH4??L6B@C4E874A778G8E@<A87ABGGB584@4G6; ABG;8EG<C<78AG<9<87(

4F4E8F<78AGB9/4F;<A:GBAFG4G8 ,;8"<78AG<9<879BHE<A7<I<7H4?F9EB@/4F;<A:GBAFG4G8J<G;

G;8F4@8A4@84A749G8E46B@C4E<FBAJ<G;4??9BHE7E<I8EUF?<68AF8C;BGBF78G8E@<A87G;4GABA8

J8E84@4G6;GB( ABG;8EG<CFG8ECEBI<7874A4@8BG;8EG;4AG;8+H5=86GUF5HG?4G8E

8KC?4<A87G;4G;87<7ABG>ABJG;8A4@87<A7<I<7H4?4A7BA?LE8CBEG87G;<F<A9BE@4G<BAGBG;8"

5864HF8FB6<4?@87<47<E86G87G;<FGB587BA8 ,;8G<CFG8EJ4FABG45?8GBCEBI<784AL477<G<BA4?

<A9BE@4G<BA45BHGG;8<A7<I<7H4?;86?4<@87J4F( <A4??L4G<CFG8E<78AG<9<87(

4F4A<A7<I<7H4?J;B4CC84EF<A4:EBHCC;BGB:E4C;BAFB6<4?@87<4?J<G;G;864CG<BAS 4LF9BE

GEH@C  ,;8 @BE8 LBH ;4G8 G;8 5<::8E J8 :EBJ   B@8 :8G HF '4F;I<??8 T  ,;8 G<CFG8E 4?FB

CEBI<787 4 FB6<4? @87<4? CEB9<?8 9BE G;4G <A7<I<7H4?   ,;8 " I<FH4??L 6B@C4E87 G;8 :EBHC

C;BGB:E4C;4A7FB6<4?@87<4466BHAGGBC;BGB:E4C;FB9(4A778G8E@<A87G;4G<GJ4FABG

G;8F4@8C8EFBA 

             ">ABJ54F87BA@LGE4<A<A:4A78KC8E<8A68G;4GC8BC?8EBHG<A8?LE8 J84E6?BG;<A:

4A74668FFBE<8F4A7FGBE8G;8F8<G8@F<AG;8<E;B@8F ?BG;<A:4A74668FFBE<8F6BAF<FG8AGJ<G;
                                              
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G;BF8JBEA5L4I<7&8;499<8BA#4AH4EL  6BAFG<GHG88I<78A68B9G;86B@@<FF<BAB9G;8

B998AF8F7<F6HFF87;8E8<A<AG;4G4I<7&8;499<864A58I<FH4??L<78AG<9<874FG;8<A7<I<7H4?<AG;8

C;BGBF4A7I<78BF7<F6HFF8745BI8<AC4EGG;EBH:;G;87<FG<A6G4GG<E84A74668FFBE<8FJBEAG;4G

74L 

              F78F6E<58745BI8G;8E8<F8I<78A68G;4G7<:<G4?78I<68F4FFB6<4G87J<G;4I<7

&8;499<84A7$L@58E?L&8;499<8J8E8<AG;84E84B9G;8- + 4C<GB?BA#4AH4EL   

C4E4:E4C; "A477<G<BA54F87BAC;BGBF4A7I<78BFB9G;8B998AF8FG;4G74G8AH@8EBHFC8EFBAF

6B@@<GG<A:G;8,4E:8G(998AF8FCBFF8FF877<:<G4?78I<68FG;4GG;8LHF87GBE86BE74A7CBFGC;BGBF

4A7I<78BFB9G;8@F8?I8F4A7BG;8EF6B@@<GG<A:G;BF8B998AF8F "4?FB>ABJ54F87BA@LGE4<A<A:

4A78KC8E<8A68G;4G68??C;BA8F4E88KC8AF<I84A7C8BC?8EBHG<A8?LE8G4<AG;8<E68??C;BA8F9BE

@4AL@BAG;FBEL84EF "A7<I<7H4?FB9G8AFGBE8G;8<EC;BA8FB@8J;8E8<AG;8<E;B@8J;<?8CE8F8AG

4GG;8E8F<78A68 HEG;8E54F87BAG;8<AI8FG<:4G<BAAH@8EBHFC8EFBAF6B@@<GG<A:G;8,4E:8G

(998AF8FCBFF8FF877<:<G4?78I<68FGB6B@@HA<64G8J<G;BG;8E<A7<I<7H4?FGBC?4AG;8<E4GG8A74A68

4GG;8:4G;8E<A:FGB6BBE7<A4G8J<G;BG;8EC4EG<6<C4AGF4GG;8:4G;8E<A:F4A7GBCBFGBAFB6<4?@87<4

4A77<:<G4?9BEH@F45BHGG;8:4G;8E<A:F 

               &BE8BI8E<G<FJ8?? >ABJAG;4GI<EGH4??L4??47H?GF<AG;8-A<G87+G4G8FHF8@B5<?8

7<:<G4? 78I<68F   "A 4 946G F;88G 9EB@ #HA8    ,;8 )8J *8F84E6; 8AG8E 9BE "AG8EA8G 

,86;AB?B:L8FG<@4G87G;4GB9@8E<64AFBJA874G?84FGBA868??H?4EC;BA84A7G;4GG;4GF4@8

 E8CBEG8FG<@4G87G;4G B9@8E<64AFHF84G?84FGBA8F@4EGC;BA8  &B5<?846G+;88G

;GGCF JJJ C8JE8F84E6; BE: <AG8EA8G 946G F;88G @B5<?8 ?4FGI<F<G87#4A    

               4F87BA@LGE4<A<A:4A78KC8E<8A684A7BA6BAI8EF4G<BAF";4I8;47J<G;BG;8E

?4J 8A9BE68@8AG B99<68EF " >ABJ G;4G FB@8 <A7<I<7H4?F J;B C4EG<6<C4G8 <A 46G<I<G<8F 4<@87 4G
                                                   
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7<FEHCG<A:BE<AG8E98E<A:J<G;:BI8EA@8AG4?4A7 BE?4J8A9BE68@8AGBC8E4G<BAF;4I8588A>ABJA

GBHF84ABAL@<M<A:F8EI<68F4A7 BE4CC?<64G<BAF64C45?8B98A6ELCG<A:6B@@HA<64G<BAFGBCEBG86G

G;8<E<78AG<GL4A76B@@HA<64G<BAF LHF<A:FH6;GBB?F<AFB@864F8FG;8BA?LJ4LGBF88G;8

6BAG8AGB9G;8F86BAI8EF4G<BAF<FBAG;88?86GEBA<678I<68G;4G;47588AHF87GBF8A7BEE868<I8G;8

6B@@HA<64G<BAF 

            ,;8CEBC8EGLGB58F84E6;87<A6?H78F68??H?4EC;BA8F4?BA:J<G;4668FFBE<8FBJA87

HF87BE6BAGEB??875L4I<7BE$L@58E?L&8;499<8;8E8<A49G8EG;8S8I<68F T

            "AI8FG<:4GBEF ;4I8 E84FBA GB 58?<8I8 G;4G G;8 8I<68F 4E8 6HEE8AG?L ?B64G87 4G   

8J8L E<I8 $8GG8E<A: (;<B   5864HF8 FHEI8<??4A68 ;4F <78AG<9<87 G;4G 4F 4I<7 4A7

$L@58E?L &8;499<8UF E8F<78A68   4F87 BA @L GE4<A<A: 4A7 8KC8E<8A68 <A7<I<7H4?F >88C G;8<E

@B5<?8 78I<68F BA BE 4EBHA7 G;8<E C8EFBA   .8;<6?8F BJA87 5L $L@58E?L &8;499<8 J8E8 4?FB

FCBGG874GG;8E8F<78A687HE<A:FHEI8<??4A68<A&4LB9  4A74:4<ABAH:HFG              

                                        

            4F87BA@LGE4<A<A:4A78KC8E<8A684A7<A9BE@4G<BA46DH<E879EB@BG;8E?4J

8A9BE68@8AGB99<6<4?FJ<G;G86;A<64?8KC8EG<F8">ABJG;8G8E@F78F6E<58758?BJ;4I8G;8

9B??BJ<A:@84A<A:FBE6;4E46G8E<FG<6F

               4      S<:<G4?78I<68T4FHF87;8E8<A<A6?H78FG;89B??BJ<A:G;E88G8E@F4A7G;8<E

E8FC86G<I8789<A<G<BAF

                              S6B@CHG8ET@84AF4A8?86GEBA<6@4:A8G<6BCG<64?BEBG;8E;<:;

FC88774G4CEB68FF<A:78I<68C8E9BE@<A:?B:<64?BEFGBE4:89HA6G<BAF4A7<A6?H78F4AL74G4FGBE4:8

946<?<GLBE6B@@HA<64G<BAF946<?<GL7<E86G?LE8?4G87GBBEBC8E4G<A:<A6BA=HA6G<BAJ<G;FH6;78I<68 

  - +  O      8  B@CHG8EF4E8C;LF<64?HA<GFB98DH<C@8AGG;4GC8E9BE@<A9BE@4G<BA
                                               
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CEB68FF<A:HF<A:45<A4ELFLFG8@GBE8CE8F8AG<A9BE@4G<BA B@CHG8EF<A6?H785HG4E8ABG?<@<G87

GB78F>GBC4A7?4CGBC6B@CHG8EFF@4EGC;BA8FG45?8GFF@4EGJ4G6;8F4A75<A4EL74G4CEB68FF<A:

HA<GFHF87<AG;8BC8E4G<BAB9BG;8ECEB7H6GF?<>84HGB@B5<?8F 

                               S<:<G4? FGBE4:8 @87<4T 4F HF87 ;8E8<A @84AF 4AL <A9BE@4G<BA

FGBE4:878I<68<AJ;<6;<A9BE@4G<BA<FCE8F8EI87<A5<A4EL9BE@4A7<A6?H78F8?86GE<64?BCG<64?

4A7 @4:A8G<6 7<:<G4? FGBE4:8 78I<68F   K4@C?8F B9 7<:<G4? FGBE4:8 @87<4 <A6?H78 5HG 4E8 ABG

?<@<G87GB6B@C46G7<F>F7<:<G4?I8EF4G<?87<F>FS.FT-+9?4F;7E<I8F9?4F;@8@BEL64E7F

4A7<AG8EA4?4A78KG8EA4?;4E77E<I8F 

                               SB@CHG8E ;4E7J4E8T @84AF 4?? 8DH<C@8AG G;4G 64A E868<I8

64CGHE86B??86G4A4?LM86E84G87<FC?4L6BAI8EGFGBE86BA684?BEGE4AF@<G8?86GEBA<6@4:A8G<6

BEF<@<?4E6B@CHG8E<@CH?F8FBE74G4 B@CHG8E;4E7J4E8<A6?H78F4AL74G4 CEB68FF<A:78I<68F

<A6?H7<A:5HGABG?<@<G87GB68AGE4?CEB68FF<A:HA<GF<AG8EA4?4A7C8E<C;8E4?FGBE4:878I<68FFH6;

4F9<K877<F>F8KG8EA4?;4E77E<I8F9?BCCL7<F>7E<I8F4A77<F>8GG8F4A7BG;8E@8@BELFGBE4:8

78I<68FC8E<C;8E4?<ACHG BHGCHG78I<68F<A6?H7<A:5HGABG?<@<G87GB>8L5B4E7FCE<AG8EFI<78B

7<FC?4L@BA<GBEF@B78@FEBHG8EFF64AA8EF4A7E8?4G876B@@HA<64G<BAF78I<68FFH6;4F645?8F

4A76BAA86G<BAF4FJ8??4F4AL78I<68F@86;4A<F@FBEC4EGFG;4G64A58HF87GBE8FGE<6G4668FF

GB6B@CHG8E;4E7J4E8<A6?H7<A:5HGABG?<@<G87GBC;LF<64?>8LF4A7?B6>F 

                5       S/<E8?8FFG8?8C;BA8TBE@B5<?8G8?8C;BA8BE68??H?4EG8?8C;BA84GLC8B9

7<:<G4?78I<68<F4;4A7;8?7J<E8?8FF78I<68HF879BEIB<684A774G46B@@HA<64G<BA4G?84FG<AC4EG

G;EBH:;E47<BF<:A4?F4A74?FBB9G8AG;EBH:;SJ< 9<TA8GJBE>F /;8A6B@@HA<64G<A:I<4E47<B

F<:A4?F G;8F8 G8?8C;BA8F F8A7 F<:A4?F G;EBH:; A8GJBE>F B9 GE4AF@<GG8EF E868<I8EF 8A45?<A:

6B@@HA<64G<BAJ<G;BG;8EJ<E8?8FFG8?8C;BA8FGE47<G<BA4?S?4A7?<A8TG8?8C;BA8F6B@CHG8EF4A7
                                             
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BG;8E 7<:<G4? 78I<68F    J<E8?8FF G8?8C;BA8 HFH4??L 6BAG4<AF 4 S64?? ?B:T J;<6; E86BE7F G;8

G8?8C;BA8AH@58E74G84A7G<@8B964??F@478GB4A79EB@G;8C;BA8 "A477<G<BAGB8A45?<A:

IB<686B@@HA<64G<BAFJ<E8?8FFG8?8C;BA8FB998E45EB47E4A:8B94CC?<64G<BAF4A764C45<?<G<8F 

,;8F8 <A6?H78 I4E<BHF?L FGBE<A: A4@8F 4A7 C;BA8 AH@58EF <A 8?86GEBA<6 S477E8FF 5BB>FT

F8A7<A: E868<I<A: 4A7 FGBE<A: G8KG @8FF4:8F 8 @4<? 4A7 BG;8E 9BE@F B9 @8FF4:<A: G4><A:

F8A7<A:E868<I<A:4A7FGBE<A:FG<??C;BGB:E4C;F4A7I<78BFGBE<A:4A7C?4L<A:546>4H7<B9<?8F

FGBE<A: 74G8F 4CCB<AG@8AGF 4A7 BG;8E <A9BE@4G<BA BA C8EFBA4? 64?8A74EF HG<?<M<A: :?B54?

CBF<G<BA<A: FLFG8@ S )+T ?B64G<A: 4A7 GE46><A: G86;AB?B:L 4A7 4668FF<A: 4A7 7BJA?B47<A:

<A9BE@4G<BA9EB@G;8"AG8EA8G 

                6      SG45?8GT<F4@B5<?86B@CHG8EGLC<64??L?4E:8EG;4A4J<E8?8FFC;BA8L8G

F@4??8EG;4A4ABG85BB>G;4G<FCE<@4E<?LBC8E4G875LGBH6;F6E88A %<>8J<E8?8FFC;BA8FG45?8GF

9HA6G<BA4FJ<E8?8FF6B@@HA<64G<BA78I<68F4A764A58HF87GB4668FFG;8"AG8EA8GBEBG;8EJ<E87

BEJ<E8?8FF78I<68FG;EBH:;68??H?4EA8GJBE>FSJ< 9<TA8GJBE>FBEBG;8EJ<F8 ,45?8GFGLC<64??L

6BAG4<ACEB:E4@F64??874CC?<64G<BAFS4CCFTJ;<6;?<>8CEB:E4@FBA5BG;J<E8?8FFC;BA8F4F

78F6E<587 45BI8 4A7 C8EFBA4? 6B@CHG8EF C8E9BE@ @4AL 7<998E8AG 9HA6G<BAF 4A7 F4I8 74G4

4FFB6<4G87J<G;G;BF89HA6G<BAF 

                7      S )+TA4I<:4G<BA78I<68<A6?H7<A:68EG4<AJ<E8?8FFC;BA8F4A7G45?8GF

HF8F G;8 ?B54? )BF<G<BA<A: +LFG8@ S )+T GB 7<FC?4L <GF 6HEE8AG ?B64G<BA 4A7 B9G8A E8G4<AF

E86BE7FB9<GF;<FGBE<64??B64G<BAF +B@8 )+A4I<:4G<BA78I<68F64A:<I84HF8E7E<I<A:BEJ4?><A:

7<E86G<BAFGB4ABG;8E?B64G<BA4A7@4L6BAG4<AE86BE7FB9G;8477E8FF8FBE?B64G<BAF<AIB?I87<A

FH6;;<FGBE<64?A4I<:4G<BA ,;8 )+6BAF<FGFB9'.+,*F4G8??<G8FBE5<G<A:G;84EG; 46;

F4G8??<G8 6BAG4<AF 4A 8KGE8@8?L 466HE4G8 6?B6>   46; F4G8??<G8 E8C84G87?L GE4AF@<GF 5L E47<B 4
                                                  
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@4G;8@4G<64?E8CE8F8AG4G<BAB9G;86HEE8AGG<@86B@5<A87J<G;4FC86<4?F8DH8A68B9AH@58EF 

,;8F8F<:A4?F4E8F8AG5LE47<BHF<A:FC86<9<64G<BAFG;4G4E8CH5?<6?L4I4<?45?8  )+4AG8AA4

BA 4EG; 64A E868<I8 G;BF8 F<:A4?F   /;8A 4 )+ 4AG8AA4 E868<I8F F<:A4?F 9EB@ 4G ?84FG 9BHE

F4G8??<G8F 4 6B@CHG8E 6BAA86G87 GB G;4G 4AG8AA4 64A @4G;8@4G<64??L 64?6H?4G8 G;8 4AG8AA4UF

?4G<GH78?BA:<GH784A7FB@8G<@8F4?G<GH78J<G;4;<:;?8I8?B9CE86<F<BA 

                 8      SB@CHG8E C4FFJBE7F 4A7 74G4 F86HE<GL 78I<68FT @84AF <A9BE@4G<BA BE

<G8@F 78F<:A87 GB E8FGE<6G 4668FF GB BE ;<78 6B@CHG8E FB9GJ4E8 7B6H@8AG4G<BA BE 74G4   4G4

F86HE<GL78I<68F@4L6BAF<FGB9;4E7J4E8FB9GJ4E8BEBG;8ECEB:E4@@<A:6B78 C4FFJBE74

FGE<A:B94?C;4 AH@8E<66;4E46G8EFHFH4??LBC8E4G8F4F47<:<G4?>8LGBSHA?B6>TC4EG<6H?4E74G4

F86HE<GL 78I<68F   4G4 F86HE<GL ;4E7J4E8 @4L <A6?H78 8A6ELCG<BA 78I<68F 6;<CF 4A7 6<E6H<G

5B4E7F 4G4F86HE<GLFB9GJ4E8B97<:<G4?6B78@4L<A6?H78CEB:E4@@<A:6B78G;4G6E84G8FSG8FGT

>8LFBES;BGT>8LFJ;<6;C8E9BE@68EG4<ACE8 F8GF86HE<GL9HA6G<BAFJ;8AGBH6;87 4G4F86HE<GL

FB9GJ4E8 BE 6B78 @4L 4?FB 8A6ELCG 6B@CE8FF ;<78 BE S5BB5L GE4CT CEBG86G87 74G4 GB @4>8 <G

<A4668FF<5?8BEHAHF45?84FJ8??4FE8I8EF8G;8CEB:E8FFGBE8FGBE8<G 

                 9      SB@CHG8EFB9GJ4E8T@84AF7<:<G4?<A9BE@4G<BAJ;<6;64A58<AG8ECE8G87

5L46B@CHG8E4A74ALB9<GFE8?4G876B@CBA8AGFGB7<E86GG;8J4LG;8LJBE> B@CHG8EFB9GJ4E8

<FFGBE87<A8?86GEBA<6@4:A8G<6 BE BG;8E 7<:<G4? 9BE@   "G6B@@BA?L<A6?H78FCEB:E4@FGBEHA

BC8E4G<A:FLFG8@F4CC?<64G<BAF4A7HG<?<G<8F 

                 :      "AG8EA8G)EBGB6B?S")T77E8FF<F4HA<DH8AH@8E<6477E8FFHF875L7<:<G4?

78I<68FBAG;8"AG8EA8G A")477E8FF9BECE8F8AGCHECBF8F?BB>F?<>84F8E<8FB99BHEAH@58EF

846;<AG;8E4A:8 F8C4E4G875LC8E<B7F                   I8EL6B@CHG8E4GG46;87GBG;8

"AG8EA8G @HFG 58 4FF<:A87 4A ") 477E8FF FB G;4G "AG8EA8G GE499<6 F8AG 9EB@ 4A7 7<E86G87 GB G;4G
                                                    
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6B@CHG8E @4L 58 7<E86G87 CEBC8E?L 9EB@ <GF FBHE68 GB <GF 78FG<A4G<BA   &BFG "AG8EA8G F8EI<68

CEBI<78EF6BAGEB?4E4A:8B9")477E8FF8F +B@86B@CHG8EF;4I8FG4G<6RG;4G<F?BA: G8E@R")

477E8FF8FJ;<?8BG;8E6B@CHG8EF;4I87LA4@<6RG;4G<F9E8DH8AG?L6;4A:87R")477E8FF8F 

                ;       ,;8S"AG8EA8GT<F4:?B54?A8GJBE>B96B@CHG8EF4A7BG;8E8?86GEBA<678I<68F

G;4G6B@@HA<64G8J<G;846;BG;8EHF<A:AH@8EBHFFC86<9<87CEBGB6B?F H8GBG;8FGEH6GHE8B9G;8

"AG8EA8G6BAA86G<BAF58GJ88A78I<68FBAG;8"AG8EA8GB9G8A6EBFFFG4G84A7<AG8EA4G<BA4?5BE78EF

8I8AJ;8AG;878I<68F6B@@HA<64G<A:J<G;846;BG;8E4E8<AG;8F4@8FG4G8 

                <       S"AG8EA8G+8EI<68)EBI<78EFTBES"+)FT4E88AG<G<8FG;4GCEBI<78<A7<I<7H4?F

4A7 5HF<A8FF8F 4668FF GB G;8 "AG8EA8G   "+)F CEBI<78 4 E4A:8 B9 9HA6G<BAF 9BE G;8<E 6HFGB@8EF

<A6?H7<A:4668FFGBG;8"AG8EA8GJ85;BFG<A:8 @4<?E8@BG8FGBE4:84A76B ?B64G<BAB96B@CHG8EF

4A7BG;8E6B@@HA<64G<BAF8DH<C@8AG "+)F64AB998E4E4A:8B9BCG<BAF<ACEBI<7<A:4668FFGBG;8

"AG8EA8G<A6?H7<A:I<4G8?8C;BA8 54F877<4? HC4A75EB4754A74668FFI<47<:<G4?FH5F6E<58E?<A8

S+%T645?8787<64G876<E6H<GF9<58E BCG<6BEF4G8??<G8 "+)FGLC<64??L6;4E:8498854F87HCBA

G;8 GLC8 B9 6BAA86G<BA 4A7 IB?H@8 B9 74G4 64??87 54A7J<7G; J;<6; G;8 6BAA86G<BA FHCCBEGF 

&4AL"+)F4FF<:A846;FH5F6E<58E4A466BHAGA4@84HF8EA4@8BEF6E88AA4@84A8 @4<?477E8FF

4A8 @4<?@4<?5BK4A74C8EFBA4?C4FFJBE7F8?86G875LG;8FH5F6E<58E LHF<A:4@B78@G;8

FH5F6E<58E64A8FG45?<F;6B@@HA<64G<BAJ<G;4A"+)4A74668FFG;8"AG8EA8G5LHF<A:;<FBE;8E

466BHAGA4@84A7C4FFJBE7 

                =       S@B78@TGE4AF?4G8FF<:A4?F9BEC;LF<64?GE4AF@<FF<BAGB4A79EB@G;8"+)

J;<6; G;8A F8A7F 4A7 E868<I8F G;8 <A9BE@4G<BA GB 4A7 9EB@ BG;8E 6B@CHG8EF 6BAA86G87 GB G;8

"AG8EA8G 


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               >       SEBHG8ET B9G8A F8EI8F 4F 4 J<E8?8FF "AG8EA8G 4668FF CB<AG 9BE BA8 BE

@H?G<C?878I<68F4A77<E86GFGE499<658GJ88A6B@CHG8EF6BAA86G87GB4A8GJBE>J;8G;8E5LJ<E8

BEJ<E8?8FF?L EBHG8E6BAA86G87GBG;8"AG8EA8G6B??86GFGE499<65BHA79BEG;8"AG8EA8G9EB@<GF

6?<8AG@46;<A8F4A7F8A7FBHGE8DH8FGFBAG;8<E58;4?9 ,;8EBHG8E4?FB7<FGE<5HG8FGBG;8E8?8I4AG

6?<8AG<A5BHA7GE499<64EE<I<A:9EB@G;8"AG8EA8G EBHG8EHFH4??LE8G4<AF?B:F9BE4AL78I<68FHF<A:

G;4GEBHG8E9BE"AG8EA8G6BAA86G<I<GL *BHG8EF<AGHEA4E8GLC<64??L6BAA86G87GB4@B78@ 

               ?      SB@4<A'4@8T@84AFG;86B@@BA84FL GB E8@8@58EA4@8F4FFB6<4G87

J<G;4A")477E8FF BE8K4@C?847B@4<AA4@8B9SJJJ HF7B= :BITE898EFGBG;8")477E8FFB9

            B@4<A A4@8F 4E8 GLC<64??L FGE<A:F B94?C;4AH@8E<6 6;4E46G8EF J<G; 846; ?8I8?

78?<@<G875L4C8E<B7 46;?8I8?E847546>J4E7FQ9EB@E<:;GGB?89GQ9HEG;8E<78AG<9<8FC4EGFB9

4ABE:4A<M4G<BA K4@C?8FB99<EFG ?8I8?BEGBC ?8I8?7B@4<AF4E8GLC<64??L 6B@9BE6B@@8E6<4?

BE:4A<M4G<BAF :BI 9BE G;8 :BI8EA@8AG4? BE:4A<M4G<BAF BE: 9BE BE:4A<M4G<BAF 4A7 87H 9BE

87H64G<BA4?BE:4A<M4G<BAF +86BA7 ?8I8?A4@8FJ<??9HEG;8E<78AG<9LG;8BE:4A<M4G<BA9BE8K4@C?8

HF7B= :BI9HEG;8E<78AG<9<8FG;8-A<G87+G4G8F:BI8EA@8AG4?4:8A6LGB58G;88C4EG@8AGB9#HFG<68 

77<G<BA4??8I8?F@4L8K<FG4FA88787HAG<?846;@46;<A8<FHA<DH8?L<78AG<9<45?8 BE8K4@C?8

JJJ HF7B= :BI<78AG<9<8FG;8/BE?7/<78/85F8EI8E?B64G874GG;8-A<G87+G4G8F8C4EG@8AGB9

#HFG<68J;<6;<FC4EGB9G;8-A<G87+G4G8F:BI8EA@8AG 

               @      S46;8T@84AFG;8G8KG<@4:84A7:E4C;<69<?8FF8AGGB4A7G8@CBE4E<?L

FGBE875L4HF8EUF6B@CHG8E9EB@4J85F<G84668FF875LG;8HF8E<ABE78EGB4??BJG;8HF8EFC887<8E

4668FFGB4A7<AG8E46G<BAJ<G;G;4GJ85F<G8<AG;89HGHE8 

               A      S)88EGB)88E9<?8F;4E<A:T))<F4@8G;B7B96B@@HA<64G<BA4I4<?45?8GB

"AG8EA8GHF8EFG;EBH:;G;8HF8B9FC86<4?FB9GJ4E8J;<6;@4L587BJA?B47879EB@G;8"AG8EA8G 
                                              
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"A :8A8E4? )) FB9GJ4E8 4??BJF 4 HF8E GB F;4E8 9<?8F BA 4 6B@CHG8E J<G; BG;8E 6B@CHG8E HF8EF

EHAA<A:6B@C4G<5?8))FB9GJ4E8 HF8E@4LB5G4<A9<?8F5LBC8A<A:G;8))FB9GJ4E8BAG;8

HF8EUF6B@CHG8E4A7F84E6;<A:9BE9<?8FG;4G4E86HEE8AG?L58<A:F;4E87BAG;8A8GJBE> ))9<?8

GE4AF98E<F4FF<FG875LE898E8A68GBG;8")477E8FF8FB96B@CHG8EFBAG;8A8GJBE>4A")477E8FF

<78AG<9<8F G;8 ?B64G<BA B9 846; )) 6B@CHG8E 4A7 @4>8F <G CBFF<5?8 9BE 74G4 GB 58 GE4AF98EE87

58GJ88A6B@CHG8EF (A84FC86GB9))9<?8F;4E<A:<FG;4G@H?G<C?89<?8F@4L587BJA?B47874G

G;8F4@8G<@8 ABG;8E4FC86GB9))9<?8F;4E<A:<FG;4GJ;8A7BJA?B47<A:49<?8CBEG<BAFB9

G;4G9<?8@4L6B@89EB@@H?G<C?8BG;8EHF8EFBAG;8A8GJBE>GB946<?<G4G894FG8E7BJA?B47<A: 

                       <          /;8A4HF8EJ<F;8FGBF;4E849<?8G;8HF8E477FG;89<?8GBF;4E87

                ?<5E4EL9<?8F8<G;8E5L7BJA?B47<A:49<?89EB@4ABG;8EHF8EBE5L6BCL<A:4AL9<?8

                <AGBG;8F;4E877<E86GBEL4A7G;89<?8UF;4F;I4?H8<FE86BE7875LG;8))FB9GJ4E8 

                ,;8;4F;I4?H8<F<A78C8A78AGB9G;89<?8A4@8G;4G<F4AL6;4A:8<AG;8A4@8B9

                G;89<?8J<??ABG6;4A:8G;8;4F;I4?H8 

                        <<        ,;<E7C4EGLFB9GJ4E8<F4I4<?45?8GB<78AG<9LG;8")477E8FFB94))

                6B@CHG8EG;4G<FF8A7<A:49<?8 +H6;FB9GJ4E8@BA<GBEF4A7?B:F"AG8EA8G4A7?B64?

                A8GJBE>GE499<6 

                B          S.)'T@84AF4I<EGH4?CE<I4G8A8GJBE> .)'8KG8A7F4CE<I4G8A8GJBE>

46EBFFCH5?<6A8GJBE>F?<>8G;8"AG8EA8G "G8A45?8F4;BFG6B@CHG8EGBF8A74A7E868<I874G446EBFF

F;4E87 BE CH5?<6 A8GJBE>F 4F <9 G;8L J8E8 4A <AG8:E4? C4EG B9 4 CE<I4G8 A8GJBE> J<G; 4?? G;8

9HA6G<BA4?<GL F86HE<GL 4A7 @4A4:8@8AG CB?<6<8F B9 G;8 CE<I4G8 A8GJBE>   ,;<F <F 7BA8 5L

8FG45?<F;<A: 4 I<EGH4? CB<AG GB CB<AG 6BAA86G<BA G;EBH:; G;8 HF8 B9 787<64G87 6BAA86G<BAF

8A6ELCG<BABE46B@5<A4G<BAB9G;8GJB ,;8.)'6BAA86G<BA46EBFFG;8"AG8EA8G<FG86;A<64??L4
                                               
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J<784E84A8GJBE>/'?<A>58GJ88AG;8F<G8F EB@4HF8EC8EFC86G<I8G;88KG8A787A8GJBE>

E8FBHE68F4E84668FF87<AG;8F4@8J4L4FE8FBHE68F4I4<?45?89EB@4CE<I4G8A8GJBE> ;8A68G;8

A4@8SI<EGH4?CE<I4G8A8GJBE> T,;86B@@HA<64G<BA58GJ88AGJB.)'8A7CB<AGF<F8A6ELCG87

4A7HFH4??L64AABG58<AG8E68CG875L?4J8A9BE68@8AG 

                C       SA6ELCG<BAT<FG;8CEB68FFB98A6B7<A:@8FF4:8FBE<A9BE@4G<BA<AFH6;4

J4L G;4G 84I8F7EBCC8EF BE ;46>8EF 64AABG E847 <G 5HG 4HG;BE<M87 C4EG<8F 64A   "A 4A 8A6ELCG<BA

F6;8@8 G;8 @8FF4:8 BE <A9BE@4G<BA E898EE87 GB 4F C?4<AG8KG <F 8A6ELCG87 HF<A: 4A 8A6ELCG<BA

4?:BE<G;@ GHEA<A: <G <AGB 4A HAE84745?8 6<C;8EG8KG   ,;<F <F HFH4??L 7BA8 J<G; G;8 HF8 B9 4A

8A6ELCG<BA>8LJ;<6;FC86<9<8F;BJG;8@8FF4:8<FGB588A6B787 ALHA<AG8A787C4EGLG;4G64A

F88 G;8 6<C;8EG8KG F;BH?7 ABG 58 45?8 GB 78G8E@<A8 4ALG;<A: 45BHG G;8 BE<:<A4? @8FF4:8   A

4HG;BE<M87C4EGL;BJ8I8E6BH?7786B78G;86<C;8EG8KGHF<A:4786ELCG<BA4?:BE<G;@G;4GHFH4??L

E8DH<E8F4F86E8G786ELCG<BA>8LGBJ;<6;47I8EF4E<8F7BABG;4I84668FF 

                D       S&4?J4E8TF;BEG9BE@4?<6<BHFBE@4?8IB?8AGFB9GJ4E8<FFB9GJ4E8HF87

BECEB:E4@@875L4GG46>8EFGB7<FEHCG6B@CHG8EBC8E4G<BAF:4G;8EF8AF<G<I8<A9BE@4G<BABE:4<A

4668FFGBCE<I4G86B@CHG8EFLFG8@F "G64A4CC84E<AG;89BE@B96B78F6E<CGF46G<I86BAG8AG4A7

BG;8EFB9GJ4E8 &4?J4E8<F4:8A8E4?G8E@HF87GBE898EGB4I4E<8GLB99BE@FB9;BFG<?8BE<AGEHF<I8

FB9GJ4E8 

         "

             F 78F6E<587 45BI8 4A7 <A GG46;@8AG  G;<F 4CC?<64G<BA F88>F C8E@<FF<BA GB

F84E6;9BE8I<78A689EH<GF6BAGE454A7<AFGEH@8AG4?<G<8F4A7<A9BE@4G<BAG;4G@<:;G589BHA7BA

G;8)*&"++<AJ;4G8I8E9BE@G;8L4E89BHA7 (A89BE@<AJ;<6;FH6;<G8@F@<:;G589BHA7

<F74G4FGBE87BABA8BE@BE87<:<G4?78I<68F +H6;78I<68F4E8789<A8745BI84A7<A6?H784AL
                                              
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8?86GEBA<6FLFG8@BE78I<6864C45?8B9FGBE<A:BECEB68FF<A:74G4<A7<:<G4?9BE@<A6?H7<A:68AGE4?

CEB68FF<A:HA<GF78F>GBC6B@CHG8EF?4CGBC6B@CHG8EFABG85BB>F4A7G45?8G6B@CHG8EFC8EFBA4?

7<:<G4? 4FF<FG4AGF J<E8?8FF 6B@@HA<64G<BA 78I<68F FH6; 4F G8?8C;BA8 C4:<A: 78I<68F 588C8EF

@B5<?8 G8?8C;BA8F 4A7 F@4EG C;BA8F 7<:<G4? 64@8E4F C8E<C;8E4? <ACHG BHGCHG 78I<68F FH6; 4F

>8L5B4E7FCE<AG8EFF64AA8EFC?BGG8EF@BA<GBEF4A77E<I8F<AG8A7879BEE8@BI45?8@87<4E8?4G87

6B@@HA<64G<BAF78I<68FFH6;4F@B78@FEBHG8EF645?8F4A76BAA86G<BAFFGBE4:8@87<4FH6;

4F;4E77<F>7E<I8F9?BCCL7<F>F-+9?4F;7E<I8F@8@BEL64E7FBCG<64?7<F>F4A7@4:A8G<6

G4C8FHF87GBFGBE87<:<G4?74G48K6?H7<A:4A4?B:G4C8FFH6;4F.!+4A7F86HE<GL78I<68F ,;HF

G;8J4EE4AG4CC?<879BEJBH?74HG;BE<M8G;8F8<MHE8B97<:<G4?78I<68FBECBG8AG<4??LG;86BCL<A:

B9 FGBE87 <A9BE@4G<BA 4?? HA78E *H?8  8   4F87 BA @L >ABJ?87:8 GE4<A<A: 4A7

8KC8E<8A684FJ8??4F<A9BE@4G<BAE8?4G87GB@85L4:8AGF4A7BG;8EF<AIB?I87<AG;<F<AI8FG<:4G<BA

4A7<AG;89BE8AF<68K4@<A4G<BAB97<:<G4?78I<68F"E8FC86G9H??LFH5@<GG;4G<97<:<G4?78I<68F4E8

9BHA7BAG;8)*&"++G;8E8<FCEB545?864HF8GB58?<8I8G;4GG;8<G8@F78F6E<587<AGG46;@8AG

J<??58FGBE87<AG;88I<68F9BE4G?84FGG;89B??BJ<A:E84FBAF

                4   "A7<I<7H4?FJ;B8A:4:8<AG;89BE8:B<A:6E<@<A4?46G<I<GL ,4E:8G(998AF8F

<A6?H7<A:CBFG<A:6BAG8AGBAG;81BH,H586;4AA8?LBHGH58 6B@ 6 < F;BJE86BE7<A:G;88I8AGF

B9#4AH4EL  4GBEA84EG;8- + 4C<GB?E86BE7<A:FB98I8AG?847<A:HCGB4A7G;88I8AGFB9

#4AH4EL  6B@@HA<64G<BAFJ<G;6B 6BAFC<E4GBEFBA?<A84A7G;EBH:;8?86GEBA<6@8FF4:<A:

<AE8?4G<BAGBG;88I8AGFB9#4AH4EL  GB4668FFJ85F<G8FGB946<?<G4G8<??8:4?46G<I<GL4A7GB

6B@@HA<64G8 J<G; 6B 6BAFC<E4GBEF BA?<A8 GB FGBE8 BA 7<:<G4? 78I<68F ?<>8 G;8 8I<68F

7B6H@8AGF4A7E86BE7FE8?4G<A:GBG;8<E<??8:4?46G<I<GLJ;<6;64A<A6?H78?B:FB9BA?<A86;4GFJ<G;

6B 6BAFC<E4GBEF8@4<?6BEE8FCBA78A68G8KGBEBG;8ES+;BEG&8FF4:8+8EI<68TS+&+T@8FF4:8F
                                               
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4A7 6BAG46G <A9BE@4G<BA B9 6B 6BAFC<E4GBEF <A6?H7<A: G8?8C;BA8 AH@58EF 8@4<? 477E8FF8F

<78AG<9<8EF9BE<AFG4AG@8FF4:<A:4A7FB6<4?@87<4?466BHAGF

                5   "A7<I<7H4?FJ;B8A:4:8<AG;89BE8:B<A:6E<@<A4?46G<I<GL<AG;88I8AGG;4G

G;8L6;4A:87<:<G4?78I<68FJ<??B9G8AS546>HCTBEGE4AF98E9<?8F9EB@G;8<EB?77<:<G4?78I<68FGB

G;4GB9G;8<EA8J7<:<G4?78I<68FFB4FABGGB?BF874G4<A6?H7<A:G;4G78F6E<587<AG;89BE8:B<A:

C4E4:E4C;J;<6;JBH?758I4?H45?8<A946<?<G4G<A:G;8<E6E<@<A4?46G<I<GL 

                6   <:<G4?78I<689<?8FBEE8@A4AGFB9FH6;9<?8F64A58E86BI8E87@BAG;FBE

8I8A@4ALL84EF49G8EG;8L;4I8588A7BJA?B4787BAGBG;8@87<H@BE78I<6878?8G87BEI<8J87

I<4G;8"AG8EA8G ?86GEBA<69<?8F7BJA?B4787GB47<:<G4?78I<6864A58FGBE879BEL84EF4G?<GG?8BE

AB6BFG I8AJ;8AFH6;9<?8F;4I8588A78?8G87G;8L64A58E86BI8E87@BAG;FBEL84EF?4G8E

HF<A:E847<?L4I4<?45?89BE8AF<6FGBB?F /;8A4C8EFBAS78?8G8FT49<?8BA47<:<G4?78I<68FH6;4F

4;B@86B@CHG8E4F@4EGC;BA8BE4@8@BEL64E7G;874G46BAG4<A87<AG;89<?87B8FABG46GH4??L

7<F4CC84EE4G;8EG;4G74G4E8@4<AFBAG;8FGBE4:8@87<H@4A7J<G;<AG;878I<68HA?8FF4A7HAG<?

<G<FBI8EJE<GG8A5LA8J74G4 ,;8E89BE878?8G879<?8FBEE8@A4AGFB978?8G879<?8F@4LE8F<78<A

9E88FC468BEF?46>FC468QG;4G<F<AFC468BAG;87<:<G4?78I<68G;4G<FABG4??B64G87GB4A46G<I8

9<?8BEG;4G<FHAHF8749G8E49<?8;4F588A4??B64G87GB4F8G5?B6>B9FGBE4:8FC468Q9BE?BA:C8E<B7F

B9G<@8589BE8G;8L4E8BI8EJE<GG8A "A477<G<BA47<:<G4?78I<68UFBC8E4G<A:FLFG8@@4L4?FB>88C

4E86BE7B978?8G8774G4<A4SFJ4CTBESE86BI8ELT9<?8 +<@<?4E?L9<?8FG;4G;4I8588AI<8J87I<4

G;8"AG8EA8G4E84HGB@4G<64??L7BJA?B4787<AGB4G8@CBE4EL"AG8EA8G7<E86GBELBES646;8 T,;8

5EBJF8EGLC<64??L@4<AG4<AF49<K874@BHAGB98?86GEBA<6FGBE4:8@87<H@FC46878IBG87GBG;8F8

9<?8F4A7G;89<?8F4E8BA?LBI8EJE<GG8A4FG;8L4E8E8C?4687J<G;@BE8E868AG?LI<8J87"AG8EA8G

C4:8F ,;HFG;845<?<GLGBE8GE<8I8SE8F<7H8TB94A8?86GEBA<69<?89EB@47<:<G4?78I<6878C8A7F
                                                
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?8FF BA J;8A G;8 9<?8 J4F 7BJA?B4787 BE I<8J87 G;4A BA 4 C4EG<6H?4E HF8EUF BC8E4G<A: FLFG8@

FGBE4:864C46<GL4A76B@CHG8EF@4EGC;BA8BEBG;8E7<:<G4?78I<68;45<GF 

              F9HEG;8E78F6E<587<AGG46;@8AGG;<F4CC?<64G<BAF88>FC8E@<FF<BAGB?B64G8

ABG BA?L 8?86GEBA<6 8I<78A68 BE <A9BE@4G<BA G;4G @<:;G F8EI8 4F 7<E86G 8I<78A68 B9 G;8 6E<@8F

78F6E<587<AG;<F499<74I<G5HG4?FB9BE9BE8AF<68?86GEBA<68I<78A68BE<A9BE@4G<BAG;4G8FG45?<F;8F

;BJG;87<:<G4?78I<68FJ8E8HF87G;8CHECBF8B9G;8<EHF8J;BHF87G;8@BE7<7ABG4A7

J;8A 4F87BA@L>ABJ?87:8GE4<A<A:4A78KC8E<8A684FJ8??4F<A9BE@4G<BAE8?4G87GB@85L

4:8AGF4A7BG;8EF<AIB?I87<AG;<F<AI8FG<:4G<BA4A7<AG;89BE8AF<68K4@<A4G<BAB97<:<G4?78I<68F

"E8FC86G9H??LFH5@<GG;8E8<FCEB545?864HF8GB58?<8I8G;4GG;<F9BE8AF<68?86GEBA<68I<78A684A7

<A9BE@4G<BAJ<??58<A4ALB9G;88I<68F4G<FFH8;8E85864HF8

                4       ?G;BH:;FB@8B9G;8E86BE7F64??879BE5LG;<FJ4EE4AG@<:;G589BHA7<A

G;8 9BE@ B9 HF8E :8A8E4G87 7B6H@8AGF BE E86BE7F FH6; 4F JBE7 CEB68FF<A: C<6GHE8 @BI<8 BE

G8KG<A:9<?8F7<:<G4?78I<68F64A6BAG4<ABG;8E9BE@FB98?86GEBA<68I<78A684FJ8?? "AC4EG<6H?4E

E86BE7FB9;BJ47<:<G4?78I<68;4F588AHF87J;4G<G;4F588AHF879BEJ;B;4FHF87<G4A7J;B

;4F588AE8FCBAF<5?89BE6E84G<A:BE@4<AG4<A<A:E86BE7F7B6H@8AGFCEB:E4@F4CC?<64G<BAF4A7

@4G8E<4?F6BAG4<A87BAG;87<:<G4?78I<68F4E84F78F6E<5879HEG;8E<AG;84GG46;@8AGF64??879BE

5LG;<FJ4EE4AG ,;BF8E86BE7FJ<??ABG4?J4LF589BHA7<A7<:<G4?74G4G;4G<FA84G?LF8:E8:45?8

9EB@G;8;4E77E<I89?4F;7E<I8@8@BEL64E7BEBG;8E8?86GEBA<6FGBE4:8@87<4<@4:84F4J;B?8 

<:<G4?74G4FGBE87<AG;88I<68FABG6HEE8AG?L4FFB6<4G87J<G;4AL9<?864ACEBI<788I<78A68

B949<?8G;4GJ4FBA68BAG;8FGBE4:8@87<H@5HG;4FF<A68588A78?8G87BE87<G87BEB9478?8G87

CBEG<BAB949<?8FH6;4F4C4E4:E4C;G;4G;4F588A78?8G879EB@4JBE7CEB68FF<A:9<?8 .<EGH4?

@8@BELC4:<A:FLFG8@F64A?84I87<:<G4?74G4BA4;4E77E<I8G;4GF;BJJ;4GG4F>F4A7CEB68FF8F
                                              
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BA47<:<G4?78I<68J8E8E868AG?LHF87 /855EBJF8EF8 @4<?CEB:E4@F4A76;4GCEB:E4@FB9G8A

FGBE86BA9<:HE4G<BA74G4BA4;4E77E<I89?4F;7E<I8@8@BEL64E7BE@8@BEL6;<CG;4G64AE8I84?

<A9BE@4G<BAFH6;4FBA?<A8A<6>A4@8F4A7C4FFJBE7F (C8E4G<A:FLFG8@F64AE86BE7477<G<BA4?

74G4FH6;4FG;84GG46;@8AGB9C8E<C;8E4?FG;84GG46;@8AGB9-+9?4F;FGBE4:878I<68F4A7G;8

G<@8F46B@CHG8EF@4EGC;BA8BEBG;8E7<:<G4?78I<68J4F<AHF8 B@CHG8EF@4EGC;BA84A7

BG;8E7<:<G4?78I<689<?8FLFG8@F64AE86BE774G445BHGG;874G8F9<?8FJ8E86E84G874A7G;8F8DH8A68

<AJ;<6;G;8LJ8E86E84G87 ,;<F74G464A588I<78A68B946E<@8<A7<64G8G;8<78AG<GLB9G;8HF8E

B9G;87<:<G4?78I<68BECB<AGGBJ4E7G;88K<FG8A68B98I<78A68<ABG;8E?B64G<BAF *86BI8ELB9G;<F

74G4 E8DH<E8F FC86<4?<M87 GBB?F 4A7 4 6BAGEB??87 ?45BE4GBEL 8AI<EBA@8AG 4A7 4?FB 64A E8DH<E8

FH5FG4AG<4?G<@8 

                5   BE8AF<6 8I<78A68 BA 4 7<:<G4? 78I<68 64A 4?FB <A7<64G8 J;B ;4F HF87 BE

6BAGEB??87G;878I<68 ,;<FSHF8E4GGE<5HG<BAT8I<78A68<F4A4?B:BHFGBG;8F84E6;9BES<A7<6<4B9

B66HC4A6LTJ;<?88K86HG<A:4F84E6;J4EE4AG4G4E8F<78A68 BE8K4@C?8E8:<FGEL<A9BE@4G<BA

6BA9<:HE4G<BA 9<?8F HF8E CEB9<?8F 8 @4<? 8 @4<? 477E8FF 5BB>F 6;4GF <AFG4AG @8FF4:<A: ?B:F

C;BGB:E4C;FG;8CE8F8A68BE45F8A68B9@4?J4E84A76BEE8FCBA78A684A7G;874G44FFB6<4G87

J<G;G;89BE8:B<A:FH6;4F9<?86E84G<BA4A7?4FG 4668FF8774G8F@4L588I<78A68B9J;BHF87BE

6BAGEB??87G;87<:<G4?78I<684G4E8?8I4AGG<@84A7CBG8AG<4??LJ;B7<7ABG 

                6   C8EFBAJ<G;4CCEBCE<4G894@<?<4E<GLJ<G;;BJ47<:<G4?78I<68JBE>F64A

49G8E 8K4@<A<A: G;<F 9BE8AF<6 8I<78A68 <A <GF CEBC8E 6BAG8KG 7E4J 6BA6?HF<BAF 45BHG ;BJ FH6;

7<:<G4?78I<68FJ8E8HF87G;8CHECBF8B9G;8<EHF8J;BHF87G;8@4A7J;8A 

                7   ,;8CEB68FFB9<78AG<9L<A:G;88K46G9<?8F5?B6>FE8:<FGEL8AGE<8F?B:FBE

BG;8E 9BE@F B9 9BE8AF<6 8I<78A68 BA 4 7<:<G4? 78I<68 G;4G 4E8 A868FF4EL GB 7E4J 4A 466HE4G8
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6BA6?HF<BA <F 4 7LA4@<6 CEB68FF   /;<?8 <G <F CBFF<5?8 GB FC86<9L <A 47I4A68 G;8 E86BE7F GB 58

FBH:;G7<:<G4?78I<688I<78A68<FABG4?J4LF74G4G;4G64A58@8E8?LE8I<8J875L4E8I<8JG84@

4A7C4FF874?BA:GB<AI8FG<:4GBEF /;8G;8E74G4FGBE87BA7<:<G4?78I<68F<F8I<78A68@4L78C8A7

BABG;8E<A9BE@4G<BAFGBE87BAG;878I<68F4A7G;84CC?<64G<BAB9>ABJ?87:845BHG;BJG;878I<68F

58;4I8 ,;8E89BE86BAG8KGH4?<A9BE@4G<BAA868FF4ELGBHA78EFG4A7BG;8E8I<78A684?FB94??FJ<G;<A

G;8F6BC8B9G;8J4EE4AG 

                 8   HEG;8E<A9<A7<A:8I<78A68B9;BJ47<:<G4?78I<68J4FHF87G;8CHECBF8

B9<GFHF8J;BHF87<G4A7J;8AFB@8G<@8F<G<FA868FF4ELGB8FG45?<F;G;4G4C4EG<6H?4EG;<A:<F

ABGCE8F8AGBAG;878I<68 BE8K4@C?8G;8CE8F8A68BE45F8A68B96BHAG8E 9BE8AF<6CEB:E4@F

4AG< I<EHFCEB:E4@F4A74FFB6<4G8774G44A7@4?J4E8@4L58E8?8I4AGGB8FG45?<F;<A:G;8HF8EUF

<AG8AG4A7G;8<78AG<GLB9G;8HF8E 

                    

              4F87BA@L>ABJ?87:8GE4<A<A:4A78KC8E<8A684FJ8??4F<A9BE@4G<BAE8?4G87GB

@85L4:8AGF4A7BG;8EF<AIB?I87<AG;<F<AI8FG<:4G<BA4A7<AG;89BE8AF<68K4@<A4G<BAB97<:<G4?

78I<68F">ABJG;4G

                 4   +84E6;<A: 7<:<G4? 78I<68F 64A 58 4A 8KGE8@8?L G86;A<64? CEB68FF B9G8A

E8DH<E<A: FC86<9<6 8KC8EG<F8 FC86<4?<M87 8DH<C@8AG 4A7 FH5FG4AG<4? 4@BHAGF B9 G<@8 <A C4EG

5864HF8G;8E84E8FB@4ALGLC8FB97<:<G4?78I<68F4A7FB9GJ4E8CEB:E4@F<AHF8GB74L <:<G4?

78I<68FQJ;8G;8E9BE8K4@C?878F>GBC6B@CHG8EF@B5<?878I<68FBECBEG45?8FGBE4:878I<68FQ

@4L586HFGB@<M87J<G;4I4FG4EE4LB9FB9GJ4E84CC?<64G<BAF846;:8A8E4G<A:4C4EG<6H?4E9BE@B9

<A9BE@4G<BABEE86BE7F4A7846;B9G8A E8DH<E<A:HA<DH89BE8AF<6GBB?FG86;A<DH8F4A78KC8EG<F8 

F 4 E8FH?G <G @4L 58 A868FF4EL GB 6BAFH?G J<G; FC86<4??L GE4<A87 C8EFBAA8? J;B ;4I8 FC86<9<6
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8KC8EG<F8<AG;8GLC8FB97<:<G4?78I<68FBC8E4G<A:FLFG8@FBEFB9GJ4E84CC?<64G<BAFG;4G4E858<A:

F84E6;87 4A7 GB B5G4<A FC86<4?<M87 ;4E7J4E8 4A7 FB9GJ4E8 FB?HG<BAF GB @88G G;8 A887F B9 4

C4EG<6H?4E9BE8AF<64A4?LF<F 

                5   <:<G4? 74G4 <F C4EG<6H?4E?L IH?A8E45?8 GB <A47I8EG8AG BE <AG8AG<BA4?

@B7<9<64G<BABE78FGEH6G<BA +84E6;<A:7<:<G4?78I<68F64AE8DH<E8G;8HF8B9CE86<F8F6<8AG<9<6

CEB687HE8F G;4G 4E8 78F<:A87 GB @4<AG4<A G;8 <AG8:E<GL B9 7<:<G4? 74G4 4A7 GB E86BI8E S;<778AT

8E4F876B@CE8FF878A6ELCG87BEC4FFJBE7 CEBG86G8774G4 *86BI8ELB9SE8F<7H8TB98?86GEBA<6

9<?8F9EB@7<:<G4?78I<68F4?FBE8DH<E8FFC86<4?<M87GBB?F4A7B9G8AFH5FG4AG<4?G<@8 F4E8FH?G4

6BAGEB??878AI<EBA@8AGFH6;4F4?4J8A9BE68@8AG?45BE4GBELBEF<@<?4E946<?<GL<FB9G8A8FF8AG<4?

GB6BA7H6G<A:46B@C?8G84A7466HE4G84A4?LF<FB974G4FGBE87BA7<:<G4?78I<68F 

               6      HEG;8E4F7<F6HFF8745BI88I<78A68B9;BJ47<:<G4?78I<68;4F588AHF87

G;8CHECBF8F9BEJ;<6;<G;4F588AHF874A7J;B;4FHF87<G@4L58E89?86G87<AG;845F8A68B9

74G4BA47<:<G4?78I<68 BE8K4@C?8GBE85HG46?4<@G;4GG;8BJA8EB947<:<G4?78I<68J4FABG

E8FCBAF<5?89BE4C4EG<6H?4EHF85864HF8G;878I<68J4F58<A:6BAGEB??87E8@BG8?L5L@4?<6<BHF

FB9GJ4E8<G@4L58A868FF4ELGBF;BJG;4G@4?<6<BHFFB9GJ4E8G;4G4??BJFFB@8BA88?F8GB6BAGEB?

G;87<:<G4?78I<68E8@BG8?L<FABGCE8F8AGBAG;87<:<G4?78I<68 I<78A68B9G;845F8A68B974G4BE

FB9GJ4E8BA47<:<G4?78I<68<FABGF8:E8:45?89EB@G;87<:<G4?78I<68<GF8?9 A4?LF<FB9G;87<:<G4?

78I<684F4J;B?8GB78@BAFGE4G8G;845F8A68B9C4EG<6H?4E74G4BEFB9GJ4E8E8DH<E8FFC86<4?<M87

GBB?F4A746BAGEB??87?45BE4GBEL8AI<EBA@8AG4A764AE8DH<E8FH5FG4AG<4?G<@8 

               7      <:<G4? 78I<68 HF8EF 64A 4GG8@CG GB 6BA684? 74G4 J<G;<A 7<:<G4? 78I<68F

G;EBH:; 4 AH@58E B9 @8G;B7F <A6?H7<A: G;8 HF8 B9 <AAB6HBHF BE @<F?847<A: 9<?8A4@8F 4A7

8KG8AF<BAF BE8K4@C?89<?8FJ<G;G;88KG8AF<BAS =C:TB9G8A4E8<@4:89<?8F;BJ8I8E4HF8E64A
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84F<?L6;4A:8G;88KG8AF<BAGBS GKGTGB6BA684?G;8<@4:84A7@4>8<G4CC84E4FG;BH:;G;89<?8

6BAG4<AFG8KG <:<G4?78I<68HF8EF64A4?FB4GG8@CGGB6BA684?74G45LHF<A:8A6ELCG<BAJ;<6;

@84AFG;4G4C4FFJBE7BE78I<68FH6;4F4S7BA:?8TBES>8L64E7T<FA868FF4ELGB786ELCGG;874G4

<AGB E84745?8 9BE@   <:<G4? 78I<68 HF8EF @4L 8A6B78 6B@@HA<64G<BAF BE 9<?8F <A6?H7<A:

FH5FG<GHG<A:<AAB6HBHFG8E@F9BE<A6E<@<A4G<A:G8E@FBE78?<58E4G8?L@<FFC8??<A:JBE7FG;8E85L

G;J4EG<A: S>8LJBE7T F84E6; G86;A<DH8F 4A7 A868FF<G4G<A: 6BAG<AHBHF @B7<9<64G<BA B9 >8LJBE7

G8E@F   &BE8BI8E 68EG4<A 9<?8 9BE@4GF ?<>8 CBEG45?8 7B6H@8AG 9BE@4G S)T 7B ABG ?8A7

G;8@F8?I8FGB>8LJBE7F84E6;8F +B@84CC?<64G<BAF9BE6B@CHG8EFF@4EGC;BA8F4A7BG;8E7<:<G4?

78I<68F7BABGFGBE874G44FF84E6;45?8G8KGE4G;8EG;8 74G4 <F F4I87 <A 4 CEBCE<8G4EL ABA G8KG

9BE@4G B6H@8AGFCE<AG875L46B@CHG8E8I8A<9G;87B6H@8AGJ4FA8I8EF4I87GBG;8;4E77E<I8

4E8 E86BI8E45?8 5L 9BE8AF<6 8K4@<A8EF 5HG ABG 7<F6BI8E45?8 5L >8LJBE7 F84E6;8F 5864HF8 G;8

CE<AG877B6H@8AG<FFGBE875LG;86B@CHG8E4F4:E4C;<6<@4:84A7ABG4FG8KG "A477<G<BA7<:<G4?

78I<68HF8EF64A6BA684?74G4J<G;<A4ABG;8EF88@<A:?LHAE8?4G874A7<AAB6HBHF9<?8<A4CEB68FF

64??87SFG8:4AB:E4C;L TBE8K4@C?85LHF<A:FG8:4AB:E4C;L47<:<G4?78I<68HF8E64A6BA684?

G8KG<A4A<@4:89<?8G;4G64AABG58I<8J87J;8AG;8<@4:89<?8<FBC8A87 <:<G4?78I<68F@4L

4?FB 6BAG4<A S5BB5L GE4CFT G;4G 78FGEBL BE 4?G8E 74G4 <9 68EG4<A CEB687HE8F 4E8 ABG F6EHCH?BHF?L

9B??BJ87    FH5FG4AG<4? 4@BHAG B9 G<@8 <F A868FF4EL GB 8KGE46G 4A7 FBEG G;EBH:; 74G4 G;4G <F

6BA684?878A6ELCG87BEFH5=86GGB5BB5LGE4CFGB78G8E@<A8J;8G;8E<G<F8I<78A686BAGE454A7

BE<AFGEH@8AG4?<G<8FB946E<@8 

               8      A4?LM<A: G;8 6BAG8AGF B9 @B5<?8 78I<68F <A6?H7<A: G45?8GF 64A 58 I8EL

?45BE<AG8AF<I84A74?FBE8DH<E8FFC86<4?G86;A<64?F><??F8DH<C@8AG4A7FB9GJ4E8 ,;8?4E:84A7

8I8E<A6E84F<A:AH@58E4A7I4E<8GLB94I4<?45?8@B5<?878I<684CC?<64G<BAF:8A8E4G8HA<DH89BE@F
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

B974G4<A7<998E8AG9BE@4GF4A7HF8E<A9BE@4G<BA4??B9J;<6;CE8F8AG9BE@<745?84A7FB@8G<@8F

ABI8? 9BE8AF<6 6;4??8A:8F GB <AI8FG<:4GBEF G;4G 64AABG 58 4AG<6<C4G87 589BE8 8K4@<A4G<BA B9 G;8

78I<68 77<G<BA4??L@BFGF@4EGC;BA8F4A7BG;8E@B5<?878I<68FE8DH<E8C4FFJBE7F9BE4668FF 

BE 8K4@C?8 8I8A B?78E <);BA8  @B78?F EHAA<A: "(+  78C?BL87 4 GLC8 B9 FBC;<FG<64G87

8A6ELCG<BA >ABJA 4F S+  8A6ELCG<BAT GB F86HE8 4A7 8A6ELCG G;8 BC8E4G<A: FLFG8@ 4A7

4CC?<64G<BA 74G4 J;<6; 6BH?7 BA?L 58 5LC4FF87 J<G; 4 AH@8E<6 C4FF6B78   '8J8E 68?? C;BA8F

8@C?BL 8DH4??L FBC;<FG<64G87 8A6ELCG<BA 4?BA: J<G; 4?C;4 AH@8E<6 C4FF6B78F E8A78E<A: @BFG

F@4EGC;BA8F<A4668FF<5?8J<G;BHG;<:;?LFBC;<FG<64G879BE8AF<6GBB?F4A7G86;A<DH8FBE4FF<FG4A68

9EB@G;8C;BA8@4AH946GHE8E &B5<?878I<68FHF875L<A7<I<7H4?F8A:4:87<A6E<@<A4?46G<I<GL4E8

B9G8A9HEG;8ECEBG86G874A78A6ELCG875LBA8BE@BE8G;<E7C4EGL4CC?<64G<BAFB9J;<6;G;8E84E8

@4AL   BE 8K4@C?8 BA8 FH6; @B5<?8 4CC?<64G<BA S!<78 "G )EBT 7<F:H<F8F <GF8?9 4F 4A 4H7<B

4CC?<64G<BA4??BJFHF8EFGB;<78C<6GHE8F4A77B6H@8AGF4A7B998EFG;8F4@8FBC;<FG<64G87+

8A6ELCG<BA9BE4??74G4FGBE87J<G;<AG;874G454F8<AG;8@B5<?878I<68 

                9    4F87BA4??B9G;89BE8:B<A:"E8FC86G9H??LFH5@<GG;4GF84E6;<A:4AL7<:<G4?

78I<689BEG;8<A9BE@4G<BAE86BE7FBE8I<78A68CHEFH4AGGBG;<FJ4EE4AG@4LE8DH<E84J<784EE4L

B98?86GEBA<674G44A4?LF<FG86;A<DH8F4A7@4LG4>8J88>FBE@BAG;FGB6B@C?8G8 ALCE8 789<A87

F84E6;CEBGB6B?JBH?7BA?L<A8I<G45?LE8FH?G<ABI8E BEHA78E <A6?HF<I8F84E6;8F4A7@<F7<E86G87

G<@8 4A7 899BEG 4F 9BE8AF<6 8K4@<A8EF 8A6BHAG8E G86;AB?B:<64? 4A7 HF8E 6E84G87 6;4??8A:8F

6BAG8AG 4A7 FB9GJ4E8 4CC?<64G<BAF G;4G 64AABG 58 4AG<6<C4G87 <A 47I4A68 B9 G;8 9BE8AF<6

8K4@<A4G<BAB9G;878I<68F "A?<:;GB9G;8F87<99<6H?G<8FLBHE499<4AGE8DH8FGFC8E@<FF<BAGBHF8

J;4G8I8E74G44A4?LF<FG86;A<DH8FE84FBA45?L4CC84EGB58A868FF4ELGB?B64G84A7E8GE<8I87<:<G4?

<A9BE@4G<BAE86BE7FBE8I<78A68J<G;<AG;8F6BC8B9G;<FJ4EE4AG 
                                               
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              ,;8IB?H@8B974G4FGBE87BA@4AL7<:<G4?78I<68FJ<??GLC<64??L58FB?4E:8G;4G<G

J<??588KGE8@8?L<@CE46G<64?GBF84E6;9BE74G47HE<A:G;8C;LF<64?F84E6;B9G;8CE8@<F8F 

                 4   ,;8E89BE8 <A F84E6;<A: 9BE <A9BE@4G<BA E86BE7F BE 8I<78A68 9HEG;8E

78F6E<587<AGG46;@8AG?4J8A9BE68@8AGC8EFBAA8?8K86HG<A:G;<FF84E6;J4EE4AGJ<??8@C?BL

G;89B??BJ<A:CEB687HE8F

                                 -CBA F86HE<A: G;8 )*&"++ ?4J 8A9BE68@8AG C8EFBAA8? J<??

6BAF<FG8AG J<G; *H?8  8 B9 G;8 878E4?*H?8F B9 E<@<A4? )EB687HE8 F8<M8 4AL 7<:<G4?

78I<68FG;4G<FG;88I<68FJ<G;<AG;8F6BC8B9G;<FJ4EE4AG4F789<A8745BI8788@8764C45?8

B96BAG4<A<A:G;8<A9BE@4G<BAE86BE7FBE8I<78A6878F6E<587<AGG46;@8AG4A7GE4AFCBEGG;8F8

<G8@F GB 4A 4CCEBCE<4G8 ?4J 8A9BE68@8AG ?45BE4GBEL BE F<@<?4E 946<?<GL 9BE E8I<8J   BE 4?? G;8

E84FBAF 78F6E<587 45BI8 <G JBH?7 ABG 58 984F<5?8 GB 6BA7H6G 4 6B@C?8G8 F498 4A7 4CCEBCE<4G8

F84E6;B94ALFH6;7<:<G4?78I<68F4GG;8)*&"++ ,;87<:<G4?78I<68F4A7 BE4AL7<:<G4?<@4:8F

G;8E8B96E84G875L?4J8A9BE68@8AGFB@8G<@8FJ<G;G;84<7B94G86;A<64?8KC8EG<A4A4CCEBCE<4G8

F8GG<A:<A4<7B9G;88K4@<A4G<BA4A7E8I<8JJ<??588K4@<A874A7E8I<8J87<ABE78EGB8KGE46G

4A7F8<M8G;8<A9BE@4G<BAE86BE7FBE8I<78A6878F6E<587<AGG46;@8AG 

                                ,;84A4?LF<FB9G;86BAG8AGFB9G;87<:<G4?78I<68F@4L8AG4<?4ALBE

4??B9I4E<BHF9BE8AF<6G86;A<DH8F4F6<E6H@FG4A68FJ4EE4AG +H6;G86;A<DH8F@4L<A6?H785HG

F;4??ABG58?<@<G87GBFHEI8L<A:I4E<BHF9<?8S7<E86GBE<8FT4A7G;8<A7<I<7H4?9<?8FG;8L6BAG4<A

4A4?B:BHFGB?BB><A:4GG;8BHGF<78B949<?8645<A8G9BEG;8@4E><A:F<G6BAG4<AF4A7BC8A<A:4

7E4J8E 58?<8I87 GB 6BAG4<A C8EG<A8AG 9<?8F 6BA7H6G<A: 4 9<?8 5L 9<?8 E8I<8J 5L SBC8A<A:T

E8I<8J<A: BE E847<A: G;8 <@4:8F BE 9<EFG 98J SC4:8FT B9 FH6; 9<?8F <A BE78E GB 78G8E@<A8 G;8<E

CE86<F86BAG8AGFSF64AA<A:TFGBE4:84E84FGB7<F6BI8E4A7CBFF<5?LE86BI8EE868AG?L78?8G8774G4
                                               
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F64AA<A:FGBE4:84E84F9BE78?<58E4G8?L;<778A9<?8F4A7C8E9BE@<A:8?86GEBA<6S>8LJBE7TF84E6;8F

G;EBH:;4??8?86GEBA<6FGBE4:84E84FGB78G8E@<A8J;8G;8EB66HEE8A68FB9?4A:H4:86BAG4<A87<A

FH6;FGBE4:84E84F8K<FGG;4G4E8E8?4G87GBG;8FH5=86G@4GG8EB9G;8<AI8FG<:4G<BA 

                              "A F84E6;<A: G;8 7<:<G4? 78I<68F G;8 9BE8AF<6 8K4@<A8EF @4L

8K4@<A8 4F @H6; B9 G;8 6BAG8AGF B9 G;8 7<:<G4? 78I<68F 4F 788@87 A868FF4EL GB @4>8 4

78G8E@<A4G<BA4FGBJ;8G;8EG;86BAG8AGF94??J<G;<AG;8<G8@FGB58F8<M874FF8G9BEG;<AGG46;@8AG

 "A477<G<BAG;89BE8AF<68K4@<A8EF@4LF84E6;9BE4A74GG8@CGGBE86BI8ES78?8G87TS;<778AT

BE8A6ELCG8774G4GB78G8E@<A8J;8G;8EG;86BAG8AGF94??J<G;<AG;8<G8@FGB58F8<M874F78F6E<587

<AGG46;@8AG ALF84E6;G86;A<DH8FBECEBGB6B?FHF87<AF84E6;<A:G;86BAG8AGFB9G;8F8<M87

7<:<G4? 78I<68F J<?? 58 FC86<9<64??L6;BF8AGB<78AG<9LG;8FC86<9<6<G8@FGB58F8<M87HA78EG;<F

J4EE4AG 

                               

             ,;<FJ4EE4AGC8E@<GF?4J8A9BE68@8AG4:8AGFGBB5G4<A9EB@G;8C8EFBAB9%2+&

'*%((+'5HGABG4ALBG;8E<A7<I<7H4?FCE8F8AG4GG;8)*&"++4GG;8G<@8B98K86HG<BAB9G;8

J4EE4AG G;8 6B@C8??87 7<FC?4L B9 4AL C;LF<64? 5<B@8GE<6 6;4E46G8E<FG<6F FH6; 4F

9<A:8ECE<AG G;H@5CE<AGBE946<4?6;4E46G8E<FG<6FA868FF4ELGBHA?B6>4AL8I<68FE8DH<E<A:FH6;

5<B@8GE<6 4668FF FH5=86G GB F8<MHE8 CHEFH4AG GB G;<F J4EE4AG 9BE J;<6; ?4J 8A9BE68@8AG ;4F

E84FBA45?8 FHFC<6<BA G;4G G;8 49BE8@8AG<BA87 C8EFBAFU C;LF<64? 5<B@8GE<6 6;4E46G8E<FG<6F J<??

HA?B6>G;88I<68F ,;8:EBHA7F9BEG;<FE8DH8FG4E84F9B??BJF

              " >ABJ 9EB@ @L GE4<A<A: 4A7 8KC8E<8A68 4F J8?? 4F 9EB@ <A9BE@4G<BA 9BHA7 <A

CH5?<6?L 4I4<?45?8 @4G8E<4?F CH5?<F;87 5L 78I<68 @4AH946GHE8EF G;4G @4AL 8?86GEBA<6 78I<68F

C4EG<6H?4E?LA8J8E@B5<?878I<68F4A7?4CGBCFB998EG;8<EHF8EFG;845<?<GLGBHA?B6>G;878I<68
                                             
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G;EBH:; 5<B@8GE<6 984GHE8F <A ?<8H B9 4 AH@8E<6BE4?C;4AH@8E<6C4FF6B78BEC4FFJBE7 ,;8F8

5<B@8GE<6 984GHE8F <A6?H78 9<A:8ECE<AG F64AA8EF 946<4? E86B:A<G<BA 984GHE8F 4A7 <E<F E86B:A<G<BA

984GHE8F   +B@8 78I<68F B998E 4 6B@5<A4G<BA B9 G;8F8 5<B@8GE<6 984GHE8F 4A7 G;8 HF8E B9 FH6;

78I<68F64AF8?86GJ;<6;984GHE8FG;8LJBH?7?<>8GBHG<?<M8 

               "9478I<68<F8DH<CC87J<G;49<A:8ECE<AGF64AA8E4HF8E@4L8A45?8G;845<?<GLGB

HA?B6> G;8 78I<68 G;EBH:; ;<F BE ;8E 9<A:8ECE<AGF   BE 8K4@C?8 CC?8 B998EF 4 984GHE8 64??87

S,BH6;"TJ;<6;4??BJF4HF8EGBE8:<FG8EHCGB9<I89<A:8ECE<AGFG;4G64AHA?B6>478I<68 (A68

4 9<A:8ECE<AG <F E8:<FG8E87 4 HF8E 64A HA?B6> G;8 78I<68 5L CE8FF<A: G;8 E8?8I4AG 9<A:8E GB G;8

78I<68UF,BH6;"F8AFBEJ;<6;<F9BHA7<AG;8EBHA75HGGBAB9G8AE898EE87GB4FG;8S;B@8T

5HGGBA?B64G874GG;85BGGB@68AG8EB9G;89EBAGB9G;878I<68 ,;89<A:8ECE<AGF8AFBEF9BHA7BA

78I<68FCEB7H6875LBG;8E@4AH946GHE8EF;4I87<998E8AGA4@8F5HGBC8E4G8F<@<?4E?LGB,BH6;" 

              "9 4 78I<68 <F 8DH<CC87 J<G; 4 946<4? E86B:A<G<BA 984GHE8 4 HF8E @4L 8A45?8 G;8

45<?<GLGBHA?B6>G;878I<68G;EBH:;;<FBE;8E9468 BE8K4@C?8G;<F984GHE8<F4I4<?45?8BA68EG4<A

A7EB<778I<68F4A7<F64??87S,EHFG87468 THE<A:G;8,EHFG87468E8:<FGE4G<BACEB68FFG;8

HF8E;B?7FG;878I<68<A9EBAGB9;<FBE;8E9468 ,;878I<68UF9EBAG 946<A:64@8E4G;8A4A4?LM8F

4A7E86BE7F74G454F87BAG;8HF8EUF946<4?6;4E46G8E<FG<6F ,;878I<6864AG;8A58HA?B6>87<9G;8

9EBAG 946<A: 64@8E4 78G86GF 4 9468 J<G; 6;4E46G8E<FG<6F G;4G @4G6; G;BF8 B9 G;8 E8:<FG8E87 9468 

46<4?E86B:A<G<BA984GHE8F9BHA7BA78I<68FCEB7H6875LBG;8E@4AH946GHE8EFFH6;4FCC?8UF

S468"T;4I87<998E8AGA4@8F5HGBC8E4G8F<@<?4E?LGB,EHFG87468 

              "9478I<68<F8DH<CC87J<G;4A<E<F E86B:A<G<BA984GHE84HF8E@4L8A45?8G;845<?<GL

GBHA?B6>G;878I<68J<G;;<FBE;8E<E<F8F BE8K4@C?8BA68EG4<A&<6EBFB9G78I<68FG;<F984GHE8

<F64??87S/<A7BJF!8??B THE<A:G;8/<A7BJF!8??BE8:<FGE4G<BA4HF8EE8:<FG8EF;<FBE;8E
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<E<F8F5L;B?7<A:G;878I<68<A9EBAGB9;<FBE;8E9468 ,;878I<68G;8A7<E86GF4A<A9E4E87?<:;G

GBJ4E7G;8HF8EUF94684A746G<I4G8F4A<A9E4E87 F8AF<G<I864@8E4GBE86BE774G454F87BAC4GG8EAF

J<G;<AG;8HF8EUF<E<F8F ,;878I<6864AG;8A58HA?B6>87<9G;8<A9E4E87 F8AF<G<I864@8E478G86GF

G;8E8:<FG8E87<E<F8F "E<F E86B:A<G<BA984GHE8F9BHA7BA78I<68FCEB7H6875LBG;8E@4AH946GHE8EF

;4I87<998E8AGA4@8F5HGBC8E4G8F<@<?4E?LGB/<A7BJF!8??B 

             "A @L GE4<A<A: 4A7 8KC8E<8A68 HF8EF B9 8?86GEBA<6 78I<68F B9G8A 8A45?8 G;8

49BE8@8AG<BA875<B@8GE<6984GHE8F5864HF8G;8L4E86BAF<78E87GB584@BE86BAI8A<8AGJ4LGB

HA?B6>478I<68G;4A5L8AG8E<A:4AH@8E<6BE4?C;4AH@8E<6C4FF6B78BEC4FFJBE7 &BE8BI8E<A

FB@8<AFG4A68F5<B@8GE<6984GHE8F4E86BAF<78E87GB584@BE8F86HE8J4LGBCEBG86G478I<68UF

6BAG8AGF ,;<F<FC4EG<6H?4E?LGEH8J;8AG;8HF8EFB9478I<684E88A:4:87<A6E<@<A4?46G<I<G<8F4A7

G;HF;4I84;8<:;G8A876BA68EA45BHGF86HE<A:G;86BAG8AGFB9478I<68 

             F7<F6HFF87<AG;<F99<74I<GLBHE99<4AG;4FE84FBAGB58?<8I8G;4GBA8BE@BE8

7<:<G4?78I<68FJ<??589BHA77HE<A:G;8F84E6; ,;8C4FF6B78BEC4FFJBE7G;4GJBH?7HA?B6>G;8

8I<68FFH5=86GGBF84E6;HA78EG;<FJ4EE4AG6HEE8AG?L<FABG>ABJAGB?4J8A9BE68@8AG ,;HF

?4J 8A9BE68@8AG C8EFBAA8? @4L ABG BG;8EJ<F8 58 45?8 GB 4668FF G;8 74G4 6BAG4<A87 J<G;<A G;8

8I<68F@4><A:G;8HF8B95<B@8GE<6984GHE8FA868FF4ELGBG;88K86HG<BAB9G;8F84E6;4HG;BE<M87

5LG;<FJ4EE4AG 

             "4?FB>ABJ9EB@@LGE4<A<A:4A78KC8E<8A684FJ8??4F9EB@<A9BE@4G<BA9BHA7<A

CH5?<6?L 4I4<?45?8 @4G8E<4?F <A6?H7<A: G;BF8 CH5?<F;87 5L 78I<68 @4AH946GHE8EF G;4G 5<B@8GE<6

984GHE8FJ<??ABGHA?B6>478I<68<AFB@86<E6H@FG4A68F8I8A<9FH6;984GHE8F4E88A45?87 ,;<F

64AB66HEJ;8A478I<68;4F588AE8FG4EG87<A46G<I8BE;4FABG588AHA?B6>879BE468EG4<AC8E<B7

B9G<@8 BE8K4@C?8CC?878I<68F64AABG58HA?B6>87HF<A:,BH6;"J;8A @BE8G;4A
                                             
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;BHEF;4F8?4CF87F<A68G;878I<68J4F?4FGHA?B6>87BEJ;8AG;878I<68;4FABG588AHA?B6>87

HF<A:49<A:8ECE<AG9BE;BHEF4A7G;8C4FF6B78BEC4FFJBE7;4FABG588A8AG8E87<AG;8?4FG

74LF +<@<?4E?L68EG4<AA7EB<778I<68F64AABG58HA?B6>87J<G;,EHFG87468<9G;878I<68;4F

E8@4<A87<A46G<I89BE9BHE;BHEF <B@8GE<6984GHE8F9EB@BG;8E5E4A7F64EELF<@<?4EE8FGE<6G<BAF 

,;HF<AG;88I8AG?4J8A9BE68@8AGC8EFBAA8?8A6BHAG8E4?B6>8778I<688DH<CC87J<G;5<B@8GE<6

984GHE8FG;8BCCBEGHA<GLGBHA?B6>G;878I<68G;EBH:;45<B@8GE<6984GHE8@4L8K<FG9BEBA?L4

F;BEGG<@8 

             H8GBG;89BE8:B<A:<9?4J8A9BE68@8AGC8EFBAA8?8A6BHAG8E4AL8I<68FG;4G

4E8 FH5=86G GB F8<MHE8 CHEFH4AG GB G;<F J4EE4AG 4A7 @4L 58 HA?B6>87 HF<A: BA8 B9 G;8

49BE8@8AG<BA875<B@8GE<6984GHE8FG;<FJ4EE4AGC8E@<GF?4J8A9BE68@8AGC8EFBAA8?GBB5G4<A9EB@

G;8 49BE8@8AG<BA87 C8EFBAF G;8 7<FC?4L B9 4AL C;LF<64? 5<B@8GE<6 6;4E46G8E<FG<6F FH6; 4F

9<A:8ECE<AG G;H@5CE<AGBE946<4?6;4E46G8E<FG<6FA868FF4ELGBHA?B6>4AL8I<68F<A6?H7<A:GB

 CE8FFBEFJ<C8G;89<A:8EF<A6?H7<A:G;H@5FB9G;849BE8@8AG<BA87C8EFBAFGBG;89<A:8ECE<AG

F64AA8EB9G;88I<68F9BHA74GG;8)*&"++;B?7G;88I<68F9BHA74GG;8)*&"++

<A9EBAGB9G;89468B9G;849BE8@8AG<BA87C8EFBAFGB46G<I4G8G;8946<4?E86B:A<G<BA984GHE84A7 BE

;B?7G;88I<68F9BHA74GG;8)*&"++<A9EBAGB9G;89468B9G;849BE8@8AG<BA87C8EFBAF

GB46G<I4G8G;8<E<FE86B:A<G<BA984GHE89BEG;8CHECBF8B94GG8@CG<A:GBHA?B6>G;88I<68F<A

BE78EGBF84E6;G;86BAG8AGF4F4HG;BE<M875LG;<FJ4EE4AG 

             ,;8 CEBCBF87 J4EE4AG 7B8F ABG 4HG;BE<M8 ?4J 8A9BE68@8AG GB E8DH<E8 G;4G G;8

49BE8@8AG<BA87C8EFBAFFG4G8BEBG;8EJ<F8CEBI<78G;8C4FFJBE7BE<78AG<9LFC86<9<65<B@8GE<6

6;4E46G8E<FG<6F <A6?H7<A: G;8 HA<DH8 9<A:8EF BE BG;8E C;LF<64? 984GHE8F G;4G @4L 58 HF87 GB

HA?B6>BE4668FFG;88I<68F 'BE7B8FG;8CEBCBF87J4EE4AG4HG;BE<M8?4J8A9BE68@8AGGBHF8
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G;8 946G G;4G G;8 J4EE4AG 4??BJF ?4J 8A9BE68@8AG GB B5G4<A G;8 7<FC?4L B9 4AL 5<B@8GE<6

6;4E46G8E<FG<6F GB 6B@C8? G;8 49BE8@8AG<BA87 C8EFBAF GB FG4G8 BE BG;8EJ<F8 CEBI<78 G;4G

<A9BE@4G<BA   !BJ8I8E G;8 IB?HAG4EL 7<F6?BFHE8 B9 FH6; <A9BE@4G<BA 5L G;8 49BE8@8AG<BA87

C8EFBAFJBH?758C8E@<GG87HA78EG;8CEBCBF87J4EE4AG ,B4IB<76BA9HF<BABAG;4GCB<AG<9

4:8AGF<A8K86HG<A:G;8J4EE4AG4F>4ALB9G;849BE8@8AG<BA87C8EFBAF9BEG;8C4FFJBE7GB4AL

8I<68FBEGB<78AG<9LJ;<6;5<B@8GE<66;4E46G8E<FG<6<A6?H7<A:G;8HA<DH89<A:8EFBEBG;8E

C;LF<64? 984GHE8F HA?B6>F 4AL 8I<68F G;8 4:8AGF J<?? ABG FG4G8 BE BG;8EJ<F8 <@C?L G;4G G;8

J4EE4AGE8DH<E8FG;8C8EFBAGBCEBI<78FH6;<A9BE@4G<BA4A7J<??@4>86?84EG;4GCEBI<7<A:4AL

FH6;<A9BE@4G<BA<FIB?HAG4EL4A7G;4GG;8C8EFBA<F9E88GBE89HF8G;8E8DH8FG 

              %4J8A9BE68@8AGC8EFBAA8?J<??6B@@8A68G;88K86HG<BAB9G;<FF84E6;4A7F8<MHE8

J4EE4AGHCBAG;8)*&"++7HE<A:74LG<@8;BHEF58GJ88A                 4 @ 4A7       C @ 4F84E?L

4F CE46G<645?8   "G <F 4AG<6<C4G87 G;4G ?4J 8A9BE68@8AG C8EFBAA8? J<?? 4GG8@CG GB <@4:8 BE 6BCL

7<:<G4?<A9BE@4G<BA9EB@68EG4<AF8EI8EFBAG;8)*&"++E4G;8EG;4AE8@BI8G;BF8F8EI8EF9EB@

G;8CE8@<F8F +H6;BAF<G8<@4:<A:BE6BCL<A:J<??@<A<@<M87<FEHCG<BAFGBG;8HF8B9G;BF8F8EI8EF 

               EB@@LGE4<A<A:4A78KC8E<8A68">ABJG;4G<@4:<A:BE6BCL<A:<A9BE@4G<BA9EB@

F8EI8EF BA G;8 )*&"++ 64A 58 FH5FG4AG<4??L 78?4L87 5L I4E<BHF 946GBEF J;<6; 64AABG 58

4F68EG4<A87BEFB@8G<@8F8I8A4AG<6<C4G87HAG<?G;846GH4?8K86HG<BAB9G;8J4EE4AG ,;8E8@4L

9BE 8K4@C?8 58 AB FLFG8@ 47@<A<FGE4GBE 4I4<?45?8 J<??<A: BE 45?8 GB 4FF<FG ?4J 8A9BE68@8AG

C8EFBAA8?GBA4EEBJG;8F84E6;5L<78AG<9L<A:G;8I<EGH4?BE787<64G87F8EI8EFBAG;8)*&"++

BE G;8 F8EI8E 9B?78EF 6BAG4<A<A: <A9BE@4G<BA J<G;<A G;8 F6BC8 B9 G;8 J4EE4AG   ,;8E8 @4L 58

G8E45LG8FBE8I8AC8G45LG8FB9<A9BE@4G<BAGB586BC<87 ,;8A8GJBE>4E6;<G86GHE8B9G;8F8EI8EF

BAG;8)*&"++BEG;86BA9<:HE4G<BAB9G;8F8EI8E;4E7J4E8@4L49986G4A778?4L74G4GE4AF98E
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FC887F   4G4 8A6ELCG<BA 4A7 C4FFJBE7 CEBG86G<BAF @4L 4?FB F<:A<9<64AG?L 78?4L <@4:<A: BE

6BCL<A: 4F ?4J 8A9BE68@8AG C8EFBAA8? F88> GB <78AG<9L A868FF4EL C4FFJBE7F J<G;BHG J;<6;

<@4:<A:BE6BCL<A:BAG;8)*&"++JBH?7?<>8?L58HA46;<8I45?8 -A78EFB@86<E6H@FG4A68F

74G4 7BJA?B47F 64A 58 <AG8EEHCG87 5L A8GJBE> BE ;4E7J4E8 @4?9HA6G<BAF BE BG;8E A8GJBE> BE

;4E7J4E84GGE<5HG8FJ;<6;B9G8AA868FF<G4G8FE8FG4EG<A:G;874G47BJA?B47F9EB@G;858:<AA<A: 

             BE 4?? B9 G;8 9BE8:B<A: E84FBAF " E8FC86G9H??L FH5@<G G;4G :BB7 64HF8 8K<FGF

CHEFH4AGGB87 * E<@ )  8<<9BE4HG;BE<M4G<BAGB8K86HG8G;8F84E6;J4EE4AG4G4AL

G<@8B9G;874LBEA<:;G %4J8A9BE68@8AGC8EFBAA8?J<??6B@@8A688K86HG<A:G;8J4EE4AG4FA84E

GB   4 @ 4FCE46G<645?8 !BJ8I8E:<I8AG;8@LE<47946GBEFG;4GG;4G@4LCE8I8AG6B@C?8G<BA

B9G;8F84E6;4A7F8<MHE85L     C @ <A6?H7<A:G;BF878F6E<58745BI8"E8DH8FG4HG;BE<M4G<BA

GB6BAG<AH8G;8J4EE4AG8K86HG<BAC4FG         C @ <9A868FF4ELHAG<?6B@C?8G<BAB9G;8J4EE4AG

8K86HG<BA   +HFC8A7<A: G;8 8K86HG<BA 4G         C @  HAG<?     4 @  6BH?7 6B@CEB@<F8 74G4

7BJA?B47F<ACEB:E8FFE8A78EFGBE8774G4FH5=86GGB4?G8E4G<BABE78?8G<BAE8DH<E8F86HE<A:G;8

)*&"++7HE<A:G;8<AG8EI8A<A:;BHEF4A7CEB?BA:G;87<FEHCG<BAB94668FFGB4A7HF8B9G;8

)*&"++4A7G;87<:<G4?78I<68F58<A:F84E6;87 




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